                  Case 2:21-cv-00177-SRB Document 59-23 Filed 05/16/22 Page 1 of 44




                                                                                           December 1, 2014
2U                                                                                         Jeffrey M. Silber                                                    212-885-4063
(TWOU-NASDAQ)                                                                              BMO Capital Markets Corp.
                                                                                           jeff.silber@bmo.com
Stock Rating:    Outperform
Industry Rating: Market Perform                                                            Henry Sou Chien                                                         212-885-4138
                                                                                           BMO Capital Markets Corp.
                                                                                           henry.chien@bmo.com



                                                                                            Price (28-Nov)          $18.08                          52-Week High                 $20.20
Initiating Coverage of Leading Online Enabler With                                          Target Price            $22.00                         52-Week Low                  $10.52
Outperform Rating                                                                                                                   2U (TWOU)
                                                                                             Price: High,Low,Close(US$)
                                                                                               22                                                                                   22

                                                                                               20                                                                                   20
Investment Thesis                                                                              18                                                                                   18
2U is one of the postsecondary industry’s largest “online enablers,” providing a               16                                                                                   16

proprietary, cloud-based technology platform, bundled with technology-enabled                  14                                                                                   14

services that allow leading colleges and universities to deliver online degree                 12                                                                                   12

programs. We believe the company has already established itself as a leader in                 10                                                                                   10
                                                                                                                                    Volume (mln)
                                                                                               10                                                                                   10
this sector, particularly with the quality of its partnerships and programs.
                                                                                                   5                                                                                5
Management has been methodical in 2U’s growth to date, focusing on top-
                                                                                                   0                                                                                0
ranked programs in specific verticals, but has recently accelerated the                       150
                                                                                                                           TWOU Relative to S&P 500
                                                                                                                                                                                    150
company’s growth by adding lower-ranked programs to leverage its fixed costs
                                                                                              100                                                                                   100
and prior investments. This is still a fairly underpenetrated market, in our view;
                                                                                               50                                                                                   50
by management’s estimates, the company can achieve at least $1 billion in                                    Q1                  Q2
                                                                                                                                             2014
                                                                                                                                                       Q3                   Q4


                                                                                                                                            Last Data Point: November 28, 2014
annual “steady state” revenues, which pales in comparison to the nearly $110
                                                                                            (FY-Dec.)                     2013A             2014E             2015E               2016E
million in revenues we project for 2U in 2014 and the roughly $22.1 billion we
                                                                                            EPS                           - $0.85          - $0.57           - $0.43             - $0.28
estimate will be spent on online higher education overall in the U.S. this year. In         P/E                                                 na                na                  na
addition, there could be future opportunities by expanding into online bachelors            CFPS                          - $0.77          - $0.70           - $0.64             - $0.51
programs (added its first in October 2014) and internationally.                             P/CFPS                                              na                na                  na

                                                                                            Rev. ($mm)                      $83               $110             $141               $177
                                                                                            EV ($mm)                       $651               $651             $651               $651
Forecast & Valuation                                                                        EBITDA ($mm)                   -$21               -$16             -$13                -$7
                                                                                            EV/EBITDA                        na                 na               na                 na
We forecast revenues will increase at roughly a 24% CAGR to nearly $320
                                                                                            Quarterly EPS                    Q1                Q2               Q3                  Q4
million in 2019 from nearly $110 million in 2014 and that the company will                  2013A                             na                na               na                  na
                                                                                            2014E                         -$0.20a           -$0.22a          -$0.13a             -$0.07
become adjusted EBITDA positive in 2017 and free cash flow positive one year                2015E                         -$0.09            -$0.22           -$0.09              -$0.03
later. Our target price is based on an average of two methodologies: forward-
                                                                                            Dividend                       $0.00             Yield                                0.0%
looking enterprise value (EV)/revenues and discounted cash flow. TWOU                       Book Value                     $2.21             Price/Book                            8.2x
                                                                                            Shares O/S (mm)                 40.3             Mkt. Cap (mm)                        $728
closed on Friday at 4.6x EV/NTM (2015) revenues of nearly $141 million                      Float O/S (mm)                  40.3             Float Cap (mm)                       $728
(estimated through December 31, 2014) versus 4.1x for its peer group median.                Wkly Vol (000s)                1,144             Wkly $ Vol (mm)                      $17.3
                                                                                            Net Debt ($mm)                  -$81             Next Rep. Date                          na
                                                                                            Notes: All values in US$
Recommendation                                                                              First Call Mean Estimates: 2U INC (US$) 2014E: -$0.58; 2015E: -
                                                                                            $0.50; 2016E: -$0.36
We are initiating coverage of 2U (TWOU) with an Outperform rating and a 12-
month price target of $22.




Please refer to pages 41 to 44 for Important Disclosures, including the Analyst's Certification.
                                                                    AR-C-1660
                      Case 2:21-cv-00177-SRB Document 59-23 Filed 05/16/22 Page 2 of 44

BMO Capital Markets                                                                                                                          2U

Exhibit 1. 2U Key Financial and Operational Data (2011-2019E)
                                                      2011       2012        2013     2014E     2015E     2016E      2017E      2018E     2019E
Revenue                                              $29.7      $55.9       $83.1    $109.5    $140.5    $177.3     $219.1     $266.4    $319.9
 Annual % change                                       N.A.     87.9%       48.8%     31.7%     28.3%     26.2%      23.6%      21.6%     20.1%
Adjusted EBITDA                                     ($22.5)    ($18.8)     ($21.2)   ($15.8)   ($13.0)     ($6.9)      $2.1     $12.4     $26.6
 Adjusted EBITDA margin                             -75.7%     -33.7%      -25.6%    -14.4%     -9.2%     -3.9%        1.0%      4.6%      8.3%
Adjusted net income/(loss)                             N.A.       N.A.     ($25.7)   ($21.7)   ($17.6)   ($11.5)      ($2.4)     $7.2     $21.3
 Pro forma earnings/(loss) per share                   N.A.       N.A.     ($0.85)   ($0.57)   ($0.43)   ($0.28)    ($0.06)     $0.17     $0.50
Full course equivalent enrollments                  14,099     22,532      31,338    40,443    51,657    63,905     77,460     92,340   108,693
 % annual change                                       N.A.     59.8%       39.1%     29.1%     27.7%     23.7%      21.2%      19.2%     17.7%
Revenues per full course equivalent enrollments      2,109      2,480       2,653     2,707     2,720     2,774      2,829      2,885     2,943
 % annual change                                       N.A.     17.6%        7.0%      2.1%      0.5%       2.0%       2.0%      2.0%      2.0%
N.A. – Not Available. Source: BMO Capital Markets and company reports.



                                      Key Investment Considerations
                                       We are initiating coverage of 2U (TWOU) with an Outperform rating. 2U is one of the
                                        postsecondary industry’s largest “online enablers,” providing a proprietary, cloud-based
                                        technology platform, bundled with technology-enabled services that allow leading colleges and
                                        universities to deliver high-quality online degree programs, extending their reach and
                                        distinguishing their brands.

                                       Secular market opportunity. We believe that 2U’s target market has a number of long-term
                                        drivers that include: 1) employee-driven demand for advanced skills and related degrees; 2) the
                                        increasing acceptance and growth of online education; and 3) a growing need for online
                                        strategy for non-profit higher education providers. In addition, as much of the company’s focus
                                        is on graduate programs, that sector – though smaller than the undergraduate sector – has
                                        generated steadier growth, and we believe is better positioned to use online education (less of a
                                        need for a traditional campus-based environment).

                                       Leading online enabling platform. We believe that 2U’s online campus product and its
                                        technology-enabled services comprise a best-in-class suite of comprehensive solutions for
                                        higher education providers. The spending on each program – $9-10 million for the first program
                                        in a new vertical and $4-5 million for additional programs in each vertical – is among the
                                        highest in the industry and reflects the quality of its offerings, in our view.

                                       Solid growth so far. 2U’s first program was launched in 2009. Since then, many programs
                                        have been added. In 2015, the company is expected to partner with 12 colleges and universities
                                        to operate 17 programs across 13 verticals (this includes four new programs expected to launch
                                        that year. Management has not officially announced a fifth program in 2015 but has indicated it
                                        is likely to do so).

                                       Quality client base. The initial programs in each vertical have been with very recognizable
                                        institutions, such as the masters of education program from the Rossier School of Education at
                                        USC (eighteenth ranked graduate education program in 2014 by US News and World Report),
                                        the masters of law in U.S law program with the School of Law at Washington University in St.
                                        Louis (eighteenth ranked law school in 2014 by US News and World Report), and the MBA
                                        program at the Kenan-Flagler Business School at the University of North Carolina at Chapel
                                        Hill (nineteenth ranked MBA program in 2014 by US News and World Report). Over the past
                                        year, management has begun to implement a strategy of adding new programs in each vertical



Page 2  December 1, 2014
                                                                         AR-C-1661
                   Case 2:21-cv-00177-SRB Document 59-23 Filed 05/16/22 Page 3 of 44

BMO Capital Markets                                                                                                           2U

                              at lower-ranked schools. We believe this to be a solid approach as the company should be able
                              to leverage some of its initial investments and accelerate growth.

                             Currently underpenetrated. Using The Parthenon Group’s estimates, 2U had roughly 8%
                              share of the online enabler market in 2011 (latest data available). We believe the company has
                              significantly expanded its share, with revenues increasing at an estimated 54% CAGR through
                              2012. 2U’s management estimates there are roughly 140 graduate degree verticals in the U.S.
                              with sizable enrollments (over 1,000 in graduates) that the company could potentially target
                              (this excludes potentially new degreed programs). Ideal target programs tend to be located in
                              large population centers, have regional employer demand for degree graduates, and are operated
                              under a well-known university brand. Management estimates that if 2U develops programs in
                              30 verticals, with two schools each, the company can achieve at least $1 billion in annual
                              “steady state” revenue. This pales in comparison to the nearly $110 million in revenues we
                              project for 2U in 2014 and the roughly $22.1 billion we estimate will be spent on U.S. online
                              higher education overall this year; we forecast the latter will grow roughly 6.9% CAGR through
                              2020, reaching over $33 billion. In addition, there could be future opportunities by expanding
                              into online bachelors programs (added its first in October 2014) and abroad. It is estimated that
                              over $1 trillion is spent annually on higher education worldwide.

                             Stable revenue growth and visibility. We believe that 2U’s operating model provides for a
                              “sticky” product that is evident in its long-term contracts (10 years or more). Its revenue share
                              agreements (averaging 65% of revenues) should provide for a high degree of visibility with
                              stable, long-term revenue growth.

                             Solid revenue growth. We forecast revenues will increase at a 24% CAGR to nearly $320
                              million in 2019 from an estimated nearly $110 million in 2014. Management has already
                              guided to a 28%-31% annual increase in 2015, which we believe is highly likely given the
                              visibility it has on its contracts. This includes at least four new programs already slated to begin
                              in 2015, with the potential for a fifth program in the year. Management’s long-term goal is to
                              add four new programs annually - something we believe is very doable as the company expands
                              within existing verticals.

                             Margin expansion potential. As its existing client programs ramp up, 2U should being to see
                              margin expansion from a high degree of recurring revenue from large pool of returning students
                              and lower operating costs as it realizes efficiencies in its program marketing and sales expenses,
                              driving long-term growth in profitability. In addition, as it adds additional programs in each
                              vertical, the company should be able to minimize its cash outlays and more rapidly expand its
                              margins.

                             Expected to be adjusted EBITDA positive in 2017 and free cash flow positive by 2018.
                              When 2U went public (March 2014), management stated a goal to be adjusted EBITDA
                              positive “within three to five years.” Recently, management has stated expectations that the
                              company is now at the low end of this time range (say 2017), with the caveat that if the
                              company were to significantly accelerate its program launch schedule, it could take a bit longer.
                              We have forecast the company reaching that level by 2017, with annual positive free cash flow
                              generation one year later.

                             Solid management team. 2U’s management brings a wide variety of experience to the
                              company, in our view.



Page 3  December 1, 2014
                                                          AR-C-1662
                      Case 2:21-cv-00177-SRB Document 59-23 Filed 05/16/22 Page 4 of 44

BMO Capital Markets                                                                                                                2U

                                Our $22 price target is based on an average of two methodologies: forward-looking
                                 EV/revenue multiple and discounted cash flow. While there are no true “publicly held peers,” in
                                 our view, the stock trades fairly close to its peer group of other SAAS stocks with a specific
                                 vertical focus.
                                Competition and (low) adoption of online are key risks, in our view.


                               Investment Conclusion
                               We are launching coverage of 2U with an Outperform rating and $22 target price. We believe the
                               company has already established itself as a leading online enabler, helping nonprofit colleges and
                               universities expand their reach by adding online components to their well-recognized programs.
                               Management has been methodical in 2U’s growth to date, focusing on top-ranked programs in
                               specific verticals, but has recently accelerated the company’s growth by adding lower-ranked
                               programs to leverage its fixed costs and prior investments. We forecast revenues will increase at
                               roughly a 24% CAGR to nearly $320 million in 2019 from an expected nearly $110 million in
                               2014 and that the company could become adjusted EBITDA positive by 2017 and free cash flow
                               positive one year later.


                               Company Overview
      History of 2U            2U, Inc. (TWOU) was founded as 2Tor Inc. in April 2008 and changed its name to 2U, Inc. in
                               October 2012. 2U provides a proprietary, cloud-based technology platform, bundled with
                               technology-enabled services under long-term agreements that allow leading colleges and
                               universities to deliver high quality online degree programs, extending their reach and
                               distinguishing their brands.
                               2U’s first program – a Masters of Education from the Rossier School of Education at USC - was
                               launched in 2009. Since then, many programs have been added; in 2015, the company is expected to
                               partner with 12 colleges and universities to operate 17 programs across 13 verticals (this includes four
                               new programs expected to launch that year; management has not officially announced a 5th program in
                               2015 but has indicated it is likely to do so).


      Projected CAGR           The company has generated strong growth in recent years – something we expect to continue.
      of about 24% in          From 2011 to 2014 (estimated), revenues increased at over a 54% CAGR reaching nearly $110
      revenue from             million in 2014. We project nearly 24% CAGR in revenues through 2019, when we forecast the
      2014 through             company will generate nearly $320 million in revenues. Over that time, we project the company
      2019; becoming           will generate positive adjusted EBITDA (potentially as early as 2017) with margins reaching
      adjusted EBITDA          8.3% in 2019, up from the estimated negative 14.4% in 2014 (see Exhibit 2).
      positive by 2017




Page 4  December 1, 2014
                                                             AR-C-1663
                    Case 2:21-cv-00177-SRB Document 59-23 Filed 05/16/22 Page 5 of 44

BMO Capital Markets                                                                                                                                       2U

                             Exhibit 2. 2U Revenue and Adjusted EBITDA Margins (2011-2019E)
                                                        $350                                                                              $319.9   10%
                                                                                        Revenue         Adjusted EBITDA margin
                                                                                                                                                   0%




                                                                                                                                                          Adjusted EBITDA Margins
                                                         300




                                 Revenues ($ in mil.)
                                                                                                                                 $266.4            -10%
                                                         250                                                                                       -20%
                                                                                                                       $219.1
                                                                                                                                                   -30%
                                                         200                                                 $177.3
                                                                                                                                                   -40%
                                                                                                    $140.5
                                                         150
                                                                                                                                                   -50%
                                                                                           $109.5
                                                         100                    $83.1                                                              -60%
                                                                       $55.9                                                                       -70%
                                                          50   $29.7
                                                                                                                                                   -80%
                                                          0                                                                                        -90%
                                                               2011    2012     2013       2014E    2015E    2016E     2017E     2018E    2019E


                             Source: BMO Capital Markets estimates and company reports.




                             Industry Overview
                             2U operates in the large and well-established market for postsecondary education (commonly
    2U operates in the       referred to as “higher education”), which includes programs offered by colleges, universities, and
    postsecondary            similar facilities. The schools tend to be grouped under three distinct categories:
    market
                                                Public not-for-profit schools (e.g., Penn State University)
                                                Private not-for-profit schools (e.g., University of Pennsylvania)
                                                Private for-profit schools (e.g., Apollo Education Group’s University of Phoenix)
                             Per the National Center of Education Statistics (NCES), 20.6 million students enrolled in degree-
                             granting postsecondary institutions during the 2012-2013 school year (latest data available) in the
                             U.S. Enrollment fell by roughly 1.7% from the prior school year – the worst y/y decline since the
                             1984-1985 school year. While the NCES had projected that enrollment in degree-granting
                             postsecondary institutions would grow at roughly a 1.2% annual rate from the 2011-2012 to 2022-
                             2023 school years, it had assumed only some minimal decline in growth (0.1%) in that first year –
                             something that did not occur.
    Postsecondary            Using data and projections from the Parthenon Group, we believe U.S. postsecondary enrollment
    enrollment could         will decline until the 2016-2017 school year, decreasing at an 0.8% rate and reaching just under
    decline slightly         20 million students that year (see Exhibit 3). After that period, we project some improvement,
    for the next few         with growth eventually approaching its long-term 1.5% annual rate.
    years




Page 5  December 1, 2014
                                                                               AR-C-1664
                       Case 2:21-cv-00177-SRB Document 59-23 Filed 05/16/22 Page 6 of 44

BMO Capital Markets                                                                                                                                                                                2U

                                Exhibit 3. U.S. Postsecondary Degree Granting Enrollment (1967-1968 to
                                2022-2023E School Years)
                                                             24                                                                                               10%

                                                             21                                                                                                   8%




                                                                                                                                                                        Annual Percentage Change
                                                             18




                                      Enrollment (in mil.)
                                                                                                                                                                  6%
                                                             15
                                                                                                                                                                  4%
                                                             12
                                                                                                                                                                  2%
                                                              9
                                                                                                                                                                  0%
                                                              6

                                                              3                                                                                                   -2%

                                                              0                                                                                                   -4%
                                                                  1967-   1972-   1977-   1982-   1987-   1992-   1997-   2002-   2007-   2012-   2017-   2022-
                                                                   68      73      78      83      88      93      98      03      08      13      18E     23E
                                                                                           Total Enrollment                Percentage Change

                                Note: Shaded areas represent U.S. recessionary periods. Source: BMO Capital Markets estimates based on projections
                                from The Parthenon Group and U.S. Department of Education National Center for Education Statistics.



    Graduate                    Historically, post baccalaureate or graduate programs (i.e., master’s and above, including first
    enrollment has              professional degrees) have grown at a faster rate when compared to undergraduate programs (i.e.,
    grown faster and            associate’s and bachelor’s). While the latter still comprise the lion’s share of postsecondary
    is less volatile            enrollment (about 86% or 17.7 million) during the 2012-2013 school year (latest data available),
    when compared               US undergraduate enrollment has grown at a 2.5% CAGR since the 1967-68 school year. US
    with                        graduate programs reached roughly 2.9 million students (14% of the total) in the 2012-2013
    undergraduate               school year (latest data available), growing at a 2.7% CAGR over that time, with annual growth
    enrollment                  not declining as much during the sector’s recent downturn (see Exhibit 4).




Page 6  December 1, 2014
                                                                                          AR-C-1665
                   Case 2:21-cv-00177-SRB Document 59-23 Filed 05/16/22 Page 7 of 44

BMO Capital Markets                                                                                                                                                             2U

                            Exhibit 4. U.S. Postsecondary Degree Granting Enrollment by Degree
                            Type (1967-1968 to 2012-2013 School Years)

                                                                                   Undergraduate            Annual % change
                                                            20                                                                            12%




                                                                                                                                                 Annual Percentage Change
                                                                                                                                          10%
                                                            16



                                  Enrollment (in mil.)
                                                                                                                                          8%

                                                            12                                                                            6%

                                                                                                                                          4%
                                                             8                                                                            2%

                                                                                                                                          0%
                                                             4
                                                                                                                                          -2%

                                                             0                                                                             -4%
                                                             1967-68 1972-73 1977-78 1982-83 1987-88 1992-93 1997-98 2002-03 2007-08 2012-13



                                                                                   Postbaccalaurate          Annual % change
                                                             3                                                                            18%




                                                                                                                                                     Annual Percentage Change
                                                                                                                                          16%
                                                                                                                                          14%
                                     Enrollment (in mil.)




                                                                                                                                          12%
                                                             2
                                                                                                                                          10%
                                                                                                                                          8%
                                                                                                                                          6%
                                                             1
                                                                                                                                          4%
                                                                                                                                          2%
                                                                                                                                          0%
                                                             0                                                                             -2%
                                                             1967-68 1972-73 1977-78 1982-83 1987-88 1992-93 1997-98 2002-03 2007-08 2012-13


                            Source: U.S. Department of Education National Center for Education Statistics.


     U.S. postsecondary     Postsecondary is the second largest of the country’s four education segments (behind K-12). It
     expenditures have      generated roughly $496 billion in revenue in the 2012-2013 school year (latest data available),
     had a 7.6% CAGR        according to the NCES. This level of spending represented roughly 3% of the U.S. annual gross
     for over 40 years,     domestic product that year. Since the 1969-1970 school year, the amount spent on postsecondary
     though growth has      education has increased at a 7.6% average annual rate, although the rate has slowed to low-single
     slowed in recent       digits in recent years. It is estimated that more than $1 trillion is spent annually on higher
     years                  education worldwide.




Page 7  December 1, 2014
                                                                                AR-C-1666
                       Case 2:21-cv-00177-SRB Document 59-23 Filed 05/16/22 Page 8 of 44

BMO Capital Markets                                                                                                                                                  2U

      We conservatively         While we project U.S. postsecondary enrollment will decline for the next two years, we expect
      forecast 3% annual        some growth thereafter. In addition, tuition rates will likely continue to be pressured, although
      growth in U.S.            over the long term, we expect some pricing power to return (assumed to be in the 2%-plus range,
      postsecondary             roughly in line with inflation). Thus, we project U.S. postsecondary expenditures should grow by
      expenditures              roughly 3% annually, reaching an estimated $670 billion in the 2022-2023 school year (see
      through 2022-2023         Exhibit 5). This is much slower than the sector’s historical average, which we believe benefited
                                from a strong increase in college participation, especially in the 1980s. In addition, we believe
                                annual growth will be somewhat sluggish early in this period, as it typically lags in an economic
                                recovery.


                                Exhibit 5. U.S. Postsecondary Expenditures (1969-1970 to 2022-2023E
                                School Years)
                                                              $700                            Total Expenditures      y/y % change                    16%

                                                               600                                                                                    14%
                                   Expenditures ($ in bil.)




                                                                                                                                                      12%
                                                               500




                                                                                                                                                            y/y % change
                                                                                                                                                      10%
                                                               400
                                                                                                                                                      8%
                                                               300
                                                                                                                                                      6%
                                                               200
                                                                                                                                                      4%

                                                               100                                                                                    2%

                                                                0                                                                                     0%
                                                                1969-70   1976-77   1983-84     1990-91     1997-98   2004-05    2011-12   2018-19E




                                Note: Shaded areas represent U.S. recessionary periods.
                                Source: BMO Capital Markets estimates and U.S. Department of Education National Center for Education Statistics.




                                Growth Drivers

                                We believe a number of longer-term secular drivers exist for continued growth of the U.S.
                                postsecondary education market:
      Unemployment              Increasing demand for skilled professionals. While it was apparent before, the Great
      rate for those with       Recession had a more significant impact on the job prospects for the lesser educated, in our view.
      less than a high          As shown in Exhibit 6, unemployment rates for those with less than a high school diploma
      school diploma            skyrocketed well above historical rates. While this rate has fallen from the 15.9% record high
      skyrocketed               reached in November 2010, the 7.9% rate as of October 2014 was well above the rates for high
      during the Great          school graduates with no college (5.7%), those with less than a bachelor’s degree (4.8%), and for
      Recession and             college graduates (3.1%).
      remains relatively
      high




Page 8  December 1, 2014
                                                                                    AR-C-1667
                      Case 2:21-cv-00177-SRB Document 59-23 Filed 05/16/22 Page 9 of 44

BMO Capital Markets                                                                                                                                                      2U

                               Exhibit 6. Unemployment Rate by Education Type (1992-2014YTD)
                                                    16%
                                                                     College graduate                         Less than a bachelor's degree




                                Unemployment Rate
                                                                     High school graduate, no college         Less than a high school diploma
                                                    12%


                                                    8%


                                                    4%


                                                    0%
                                                      1992   1993   1995   1996    1998     1999    2001   2002   2004   2005    2007     2008   2010   2011   2013   2014

                               Note: Data are seasonally adjusted. Shaded area represents recessionary period. Source: Bureau of Labor Statistics,
                               National Bureau of Economic Research, and BMO Capital Markets.


      Employers need           As a result of technological advances and the continued globalization of the economy, we believe that
      more educated            higher education (advanced degrees in particular) will become a prerequisite for many positions. The
      workers; jobs            Bureau of Labor Statistics (BLS) projects that, by 2022, roughly 22.8% of those employed will be
      requiring a              required to have a bachelor’s degree or higher, up from 22.3% in 2012.
      graduate degree
                               Jobs for this segment of the population are expected to increase by 13% over this period (1.2%
      are expected to be
                               CAGR) – faster than the overall employment market, which is expected to increase at a 10.8% rate
      among the
                               (1% CAGR). Jobs requiring graduate education – 2U’s specialty – are projected to be among the
      fastest-growing
                               fastest-growing categories (e.g., jobs requiring a master’s degree, up 18.4% or 1.7% CAGR) (see
      categories
                               Exhibit 7).

                               Exhibit 7. Employment by Education and Training Category (2012-
                               2022E)
                                                                                                           Number (in 000's) 2012-2022E                 % of workforce
                               Education Level                                                                2012    2022E      % Chg.                   2012    2022E
                               Doctoral or professional degree                                               4,002    4,641       16.0%                    2.8%     2.9%
                               Master's degree                                                               2,432    2,881       18.4%                    1.7%     1.8%
                               Bachelor's degree                                                            26,033   29,177       12.1%                  17.9%    18.1%
                                Bachelor's degree or higher                                                 32,468   36,698       13.0%                  22.3%    22.8%
                               Associate degree                                                              5,955    7,001       17.6%                    4.1%     4.3%
                               Postsecondary nondegree award                                                 8,554    9,891       15.6%                    5.9%     6.1%
                                Some postsecondary (below bachelor's)                                       14,509   16,892       16.4%                  10.0%    10.5%
                               Some college, no degree                                                       1,987    2,212       11.3%                    1.4%     1.4%
                               High school diploma or equivalent                                            58,264   62,895       10.9%                  26.2%    26.3%
                               Less than high school                                                        38,128   42,286       10.9%                  26.2%    26.3%
                                 Total                                                                     145,356 160,984        10.8%                 100.0% 100.0%
                               Source: BMO Capital Markets and Bureau of Labor Statistics Employment Outlook, 2012-2022.


      Advanced                 Potential earnings premium. The income premium associated with a postsecondary education has
      degrees have high        been widely documented, and we believe it has not gone unnoticed by the public. According to a 2006
      return on                paper by economists at the Federal Reserve Bank of Chicago, for each additional year of completed
      investment               schooling, an individual’s earnings increase, on average, by roughly 11%. We believe this relationship
                               still holds though the percentage may be smaller. This correlation between education and income is
                               highlighted in Exhibit 8. In 2013, the median weekly earnings of U.S. employees with a bachelor’s
                               degree was significantly higher than the median weekly earnings for those with only a high school



Page 9  December 1, 2014
                                                                                   AR-C-1668
                   Case 2:21-cv-00177-SRB Document 59-23 Filed 05/16/22 Page 10 of 44

BMO Capital Markets                                                                                                                                      2U

                             education ($1,108 versus $651). Jobs with advanced degrees – 2U’s specialty – generate by far the
                             highest median weekly earnings.

                             Exhibit 8. Median Weekly Earnings by Education Category (2013)
                                          $1,500                                                                                           $1,389

                                                                                                                        $1,108

                                                1,000
                                                                                                        $748
                                                                                      $651
                                                                   $472
                                                        500



                                                         0
                                                              Less than a high     High school      Some college or    Bachelors           Advanced
                                                               school diploma      graduate, no       associates      degree only           degree
                                                                                      college           degree

                             Source: BMO Capital Markets and Bureau of Labor Statistics.


      Income gap has,        The income gap between high school graduates and those with additional education has, for the
      for the most part,     most part, been expanding over time, especially for workers who have obtained a bachelor’s
      expanded over          degree or higher. In 2012 (latest data available), the average annual earnings (per Census Bureau
      time                   data) for an individual with a bachelor’s degree and one with an advanced degree were,
                             respectively, 84% and 174% higher than a person with only a high school diploma. By
                             comparison, the same ratios were only 57% and 113% in 1975 (see Exhibit 9).

                             Exhibit 9. Average Annual Earnings Relative to Average Annual
                             Earnings of High School Graduates (1975-2012)
                                                   3.0x                Not a High School Graduate
                              Earnings Relative to HS




                                                                       Some College/Associate Degree
                                                                       Bachelor's Degree
                                                   2.5x                Advanced Degree
                                      Grad.




                                                   2.0x

                                                   1.5x

                                                   1.0x

                                                   0.5x
                                                               1977         1982             1987        1992         1997          2002        2007   2012

                             Source: BMO Capital Markets and U.S. Census Bureau.




Page 10  December 1, 2014
                                                                                   AR-C-1669
                  Case 2:21-cv-00177-SRB Document 59-23 Filed 05/16/22 Page 11 of 44

BMO Capital Markets                                                                                                                               2U

      Students aged 25       Influx of “older” students. While thoughts of postsecondary education may bring back memories
      or older have          of a leafy campus and fraternity initiations, much of the growth in the sector in recent years has
      grown at faster        been driven by nontraditional students. In addition, we believe nontraditional students are more
      rate than              likely to utilize online learning services, as they have less need for a traditional campus-based
      “traditional”          environment and more restrictions on movement (i.e., greater familial or employer needs).
      students; this
                             As shown in Exhibit 10, according to the NCES, the number of 25- to 44-year-old students grew
      trend is expected
                             from 4.9 million in fall 1987 to 8.3 million in fall 2012 (latest data available), a total increase of
      to continue, albeit
                             roughly 71.3% (2.4% CAGR), above the roughly 58.6% increase (2% CAGR) in the total number
      at slower rates –
                             of postsecondary students over that timeframe.
      should help 2U’s
      growth                 The NCES forecasts that, in the future, an increasing percentage of this age cohort will attend
                             college, as more “working adults” see the benefits of postsecondary education. The number of
                             students aged 25-44 are expected to increase by 21% (1.7% CAGR), reaching 10.1 million in fall
                             2022, relative to the expected 12.2% increase (1% CAGR) for all postsecondary students. We
                             believe this is especially important for 2U’s growth, given the company’s graduate education
                             focus.

                             Exhibit 10. Number of 25- to 44-Year-Old Students and as Percentage of
                             Population (Fall 1987-2022E)
                                                            11                   Number of enrollees          % of population
                                                                                                                                            12%
                              No. of Enrollees (Millions)




                                                            10
                                                             9                                                                              10%




                                                                                                                                                  % Attending Postsecondary
                                                             8
                                                             7                                                                              8%
                                                             6
                                                                                                                                            6%
                                                             5
                                                             4                                                                              4%
                                                             3
                                                             2                                                                              2%
                                                             1
                                                             0                                                                               0%
                                                                 1987   1992   1997        2002        2007      2012           2017E   2022E

                             Source: BMO Capital Markets and U.S. Department of Education National Center for Education Statistics.




                             U.S. Online Postsecondary Market
                             We believe online higher education continues to gain acceptance among students, schools,
                             regulators, and employers, and is increasingly becoming a part of mainstream education – and it is
                             growing faster than the overall postsecondary market. We believe this, along with improving
                             technology, internet access, demand for flexible education alternatives, and pressure to reduce
                             costs, will continue to drive demand for online or blended learning models in the postsecondary
                             sector.
      Online                 The Online Learning Consortium (formerly known as the Sloan Consortium), an educational
      classifications        research group, defines the online postsecondary market as shown in Exhibit 11. 2U’s service
                             enables its clients to offer degree programs in the fully online category.




Page 11  December 1, 2014
                                                                               AR-C-1670
                   Case 2:21-cv-00177-SRB Document 59-23 Filed 05/16/22 Page 12 of 44

BMO Capital Markets                                                                                                                                                                                   2U

                             Exhibit 11. Delivery Method Classifications
                              Proportion of Content                      Type of Course                                      Typical Description
                                Delivered Online
                                       0%                                   Traditional         Course with no online technology used — content is delivered in writing or
                                                                                                orally.
                                                              1% - 29%    Web Facilitated       Course which uses web-based technology to facilitate what is essentially a
                                                                                                face-to-face course. May use a course management system (CMS) or web
                                                                                                pages to post the syllabus and assignments.
                                                             30% - 79%    Blended/Hybrid        Course that blends online and face-to-face delivery. Substantial proportion of
                                                                                                the content is delivered online, typically uses online discussions, and typically
                                                                                                has a reduced number of face-to-face meetings.
                                                               80+%           Online            A course where most or all of the content is delivered online. Typically have
                                                                                                no face-to-face meetings.

                             Source: “Class Differences: Online Education in the United States,” Online Learning Consortium 2010.


      Projected 6.9%         Eduventures estimates nearly 3.4 million students were enrolled in fully online postsecondary
      CAGR in online         programs in 2014 (2013-2014 school year), or about 16.5% of all students enrolled in degree-
      enrollment for         granting postsecondary institutions in the U.S. that year, by our estimates. This share is up
      2014-2020, though      significantly from approximately 1.2% in the 1999-2000 school year. Eduventures projects that
      mostly back-end        U.S. postsecondary online enrollment will increase by roughly 6.9% annually to more than 5
      loaded                 million students in 2020 (2019-2020 school year), which would represent nearly 25% of total
                             postsecondary enrollment in that year (see Exhibit 12).

                             However, much of that forecast is back-end loaded. Possible headwinds to these forecasted
                             growth projections are a hardened opposition to online education by schools that do not currently
                             offer it or a decreasing unemployment rate, which increases the opportunity cost of prospective
                             students that would otherwise consider furthering their education. Still, we believe that online
                             enrollment growth rates should continue to be above that of the overall postsecondary market.

                             Exhibit 12. U.S. Postsecondary Online Schools Enrollment (2000-2020E)
                                                             5,000                                                                                                     25%
                              Online Enrollment (in 000's)




                                                                         Enrollment (in 000s)




                                                                                                                                                                              As % of Postsecondary
                                                             4,000       Percentage of total postsecondary                                                             20%

                                                             3,000                                                                                                     15%

                                                             2,000                                                                                                     10%

                                                             1,000                                                                                                     5%

                                                                0                                                                                                      0%




                             Source: BMO Capital Markets estimates and Eduventures.


      Projected 6.9% CAGR    We have estimated postsecondary online schools revenue using prior Eduventures data as a base
      in U.S. online         and updating it based on its most recent enrollment forecast. We estimate that roughly $22.1
      postsecondary          billion was spent on U.S. online higher education in the 2013-2014 school year (or 2014) and
      revenues for 2014-     forecast this market will grow at roughly a 6.9% CAGR through 2020 (2019-2020 school year),
      2020                   reaching just over $33 billion in revenues that year (see Exhibit 13). Online higher education
                             would represent about 5.8% of the estimated $573 billion expected to be spent on postsecondary
                             education in the U.S. that year.




Page 12  December 1, 2014
                                                                                   AR-C-1671
                  Case 2:21-cv-00177-SRB Document 59-23 Filed 05/16/22 Page 13 of 44

BMO Capital Markets                                                                                                                        2U

                             Exhibit 13. U.S. Postsecondary Online Schools Revenue (2000–2020E)
                                                  $35                                                                              6%
                                                                           Revenues
                                                   30                                                                              5%




                                                                                                                                        As % of Postsecondary
                                                                           Percentage of total postsecondary




                              Revenues ($ bil.)
                                                   25
                                                                                                                                   4%
                                                   20
                                                                                                                                   3%
                                                   15
                                                                                                                                   2%
                                                   10

                                                   5                                                                               1%

                                                   0                                                                               0%




                             Source: BMO Capital Markets estimates and Eduventures.


      A disproportionate     According to the U.S. Department of Education (ED), more than 2.6 million students were
      number of              exclusively enrolled in distance education (“fully online”) in fall 2012. Of those, graduate
      graduate students      students were the most likely to be fully online, representing 24.2% of all such students, relative
      are fully online       to their 14% proportion of all postsecondary students as of fall 2012 (latest data available; see
                             Exhibit 14). However, the bulk of fully online students (nearly 69%) are degree/certificate-
                             seeking undergraduates.

                             Exhibit 14. Delivery Market Share by Credential (Fall 2012)
                              90%                                                 Fully online        Hybrid   No online

                              80%

                              70%

                              60%

                              50%

                              40%

                              30%

                              20%

                              10%

                                         0%
                                                    Degree/certificate-seeking   Non degree/certificate-       Graduate    Total
                                                         undergraduate           seeking undergraduate



                             Source: Eduventures.


                             Benefits of online learning are shown in Exhibit 15.




Page 13  December 1, 2014
                                                                                  AR-C-1672
                  Case 2:21-cv-00177-SRB Document 59-23 Filed 05/16/22 Page 14 of 44

BMO Capital Markets                                                                                                              2U

                             Exhibit 15. Benefits of Online vs. Traditional Postsecondary Schools
                             Users         Cost benefits – saves travel-related and opportunity costs from time saved
                                           Personalized – can tailor content and delivery to virtually each individual learner

                                           Convenience – can learn on your own time, “anytime, anywhere”
                                           Real-time updates – can make learning experience more relevant
                                           Self-paced – can review until information is fully grasped without “holding up” the
                                           class; asynchronous platform reaches students that may not respond to
                                           synchronous learning

                                           Efficient - potentially faster and higher completion rates, according to some
                                           anecdotal evidence
                                           Expands community – can interact with others in different geographic locations
                                           and enroll in programs that may not be available at local schools

                                           Greater oversight – via better tracking and management capabilities

                             Providers     Scalability – offers cost-effective way of increasing potential revenue base
                                           Penetrate new markets – can offer access to services beyond geographic
                                           boundaries
                                           Consistent quality – although customizable, quality may improve through
                                           consistency

                                           Brand exposure – increases marketing reach of institutions beyond traditional
                                           channels

                                           Cost savings – enables schools to automate many tasks associated with
                                           teaching and to leverage curriculum across a wider student base
                             Source: BMO Capital Markets.


      Perceptions of         We believe the perception of quality for online education remains somewhat controversial,
      online learning        although less so as online programs gain acceptance. In fact, it appears that the general U.S.
      improving              public is becoming more comfortable with the quality of online education, as over the past two
                             years (2012 and 2013; latest data available) according to annual Gallup surveys, a higher
                             percentage of the public agrees with rather than disagrees with the statement that “online college
                             and universities offer high-quality education” (see Exhibit 16).




Page 14  December 1, 2014
                                                            AR-C-1673
                      Case 2:21-cv-00177-SRB Document 59-23 Filed 05/16/22 Page 15 of 44

BMO Capital Markets                                                                                                                        2U

                               Exhibit 16. Do Online Colleges and Universities Offer High-Quality
                               Education? (2011-2013 Surveys)
                                                                        2011      2012      2013
                                45%
                                                                                     39%
                                40%                            37%
                                                                             35%           34%
                                35%                 33%
                                              30%                                                           31%
                                30%                                                                                        27%
                                                                                                                   25%
                                25%
                                20%
                                15%
                                10%
                                  5%
                                  0%
                                            % Agree/ Strongly                    % Neutral              % Disagree/ Strongly
                                                 agree                                                       disagree
                               Source: Gallup surveys.


      Most academic            Data from an Online Learning Consortium survey of educators reflect their subtly changing views
      leaders still            on online education. In Exhibit 17, academic leaders were asked if their faculty accept the value
      “neutral” on             and legitimacy of an online education. As shown, results have changed only mildly, with the
      online education’s       percentage agreeing growing to 32% in 2012 from 28% in 2002. The majority is still “neutral”
      value and                and has been each year surveyed.
      legitimacy
                               Exhibit 17. Faculty Acceptance of Value and Legitimacy of Online
                               Learning Programs (2002-2012 Surveys)
                                70%
                                                                             Agree         Disagree          Neutral
                                60%
                                50%
                                40%
                                30%
                                20%
                                10%
                                 0%
                                       Fall 2002   Fall 2004     Fall 2005   Fall 2006   Fall 2007    Fall 2009    Fall 2011   Fall 2012

                               Note: This question was not asked in every survey. Source: Online Learning Consortium.




Page 15  December 1, 2014
                                                                     AR-C-1674
                     Case 2:21-cv-00177-SRB Document 59-23 Filed 05/16/22 Page 16 of 44

BMO Capital Markets                                                                                                              2U

    Most see                  As shown in Exhibit 18 most school administrators believe the learning outcomes for online
    outcomes of               learning are the same as or superior to those for face-to-face learning, with the trendline showing
    online learning as        an increased acceptance.
    the same as or
    superior to face to
                              Exhibit 18. Learning Outcomes Online vs. Face to Face (2003-2013
    face, with the
                              Surveys)
                               Learning Outcomes Online vs Face-
    trendline
                               to-Face                                                        All Institutions
    improving                                                          2003        2004 2006 2009         2010 2011 2012 2013
                               Same or Superior                       57.2%       61.6% 61.9% 67.5% 66.0% 67.6% 76.9% 74.1%
                               Somewhat inferior                      32.1%       28.4% 30.3% 23.0% 24.3% 22.7% 17.7% 18.2%
                               Inferior                               10.7%       10.1% 7.8% 9.5%         9.8% 9.7% 5.3% 7.7%
                                 At least some inferiority            42.8%       38.5% 38.1% 32.5% 34.1% 32.4% 23.0% 25.9%
                              Note: This question was not asked in every survey. Source: Online Learning Consortium.


      Analysis of             A study released in June 2009 by the ED compiled the results of empirical research dating back to
      empirical               1996 and drew positive conclusions about the effectiveness of online education. The analysis
      research favors         found that “students who took all or part of their class online performed better, on average, than
      online education        those taking the same course through traditional face-to-face instruction.” However, we note a
                              July 2010 paper by the Community College Research Center at Columbia University’s Teachers
                              College refuted some of these findings and cited flaws with the study.

      Online learning         Regardless of whether educators agree over the outcomes of online education, we believe it is
      increasingly part       clearly becoming an increasing part of school strategy. Although the Online Learning Consortium
      of school strategy      study found a slight reduction the percentage of educators who believe that online education is
                              important to their school’s long-term strategy (from 69% in 2012 to 66% in 2013), the authors of
                              the study highlight that most of this decrease is attributable to educators who do not currently
                              have online platforms becoming increasingly disagreeable to it. For that group, 72% of
                              respondents (vs. 56% in 2012) reported that they believed online education was inferior to
                              traditional education (see Exhibit 19).

                              Exhibit 19. Importance of Online Education to Long-Term Strategy (Fall
                              2002-Fall 2013)
                               70%                    Agree            Disagree            Neutral

                               60%
                               50%
                               40%
                               30%
                               20%
                               10%
                                0%
                                      2002    2003    2004     2005      2006       2007    2009     2010   2011   2012   2013


                              Source: Online Learning Consortium and BMO Capital Markets.


    Why students              In the most recent Aslanian survey, 1,500 individuals who have enrolled or plan to take a fully
    take online               online program were asked about their primary motivation goal in enrolling. Not surprisingly, it
    courses                   was career-oriented, although most of the responses related to one’s current career – not changing
                              careers – given the “working adult” nature of most online students (see Exhibit 20).




Page 16  December 1, 2014
                                                               AR-C-1675
                         Case 2:21-cv-00177-SRB Document 59-23 Filed 05/16/22 Page 17 of 44

BMO Capital Markets                                                                                                                                     2U

                                           Exhibit 20. Primary Motivation for Students Taking Online Courses
                                           (2014)
                                                                                                                               Percent of Respondents
                                           Primary Motivation for Enrollment                                                   Undergrad     Graduate
                                           I wanted a career in a new field                                                       26%          19%
                                           The satisfaction of completing my education                                            19%          22%
                                           I was unemployed/underemployed and needed more education to get a new job              17%           9%
                                           I wanted to keep up to date with the skills and requirements of my current job         10%          13%
                                           I was re-entering the job market and needed more education                              7%           7%
                                           I was seeking a promotion/ new position in my field                                     6%          23%
                                           It was a requirement by my employer/profession                                          6%           6%
                                           I had just finished high school/GED                                                     6%          <1%
                                           Other personal reasons not related to career                                            3%           1%
                                           Source: Aslanian Market research and The Learning House, Inc. spring 2014 survey.


       Important factors                   An annual Noel-Levitz survey (shown in Exhibit 21) has tracked the top reasons student attended
       for students when                   online programs at not-for-profit schools. While the top three reasons – convenience, flexible
       choosing online                     pacing, and work schedule – have remained the top three each year, we note financial assistance,
       programs                            reputation, and cost have moved up in recent surveys.

Exhibit 21. Important Factors for Students When Choosing Online Programs (2004-2013; ranked
by 2013 survey)
Enrollment Factors                           2004      2005      2006      2007      2008      2009       2010      2011       2012    2013
Convenience                                    6.8       6.8       6.8      6.8        6.8       6.8        6.7       6.8       6.8      6.8
Flexible pacing for completing a program      6.6       6.6       6.6       6.6       6.6       6.6        6.6       6.6        6.6     6.7
Work schedule                                  6.6       6.6       6.6      6.6        6.6       6.6        6.6       6.6       6.6      6.6
Program requirements                          6.4        6.4       6.4      6.4       6.4        6.4        6.4       6.4       6.5      6.5
Reputation of institution                      6.1       6.2       6.2       6.3       6.3       6.3        6.3       6.3        6.3     6.4
Financial assistance available                5.9        6.0       6.0      6.2       6.2        6.2        6.3       6.3       6.3     6.4
Cost                                           6.1       6.2       6.2      6.2        6.2       6.3        6.3       6.3       6.3      6.3
Future employment opportunities               6.0        6.0       6.1      6.1       6.1        6.2        6.2       6.2       6.2      6.2
Ability to transfer credits                    6.2       6.2       6.2       6.2       6.3       6.3        6.2       6.2        6.2     6.2
Distance from campus                           5.5       5.5       5.5      5.5        5.5       5.5        5.5       5.4       5.3      5.3
Recommendations from employer                  4.5       4.7       4.7      4.8        4.8       4.9        4.9       4.9       5.0      5.1

Note: Ranking based on a 1-7 scale, with 7 being very important and 1 being not important. Data ranked by latest survey.
Source: Annual National Online Learners Priorities Report survey conducted by Noel Levitz.


       Employer                            There is limited empirical research on how employers view job candidates with online degrees
       perception of                       versus those from a traditional education setting. In addition, given how much the technology has
       online education                    changed in recent years, the available research and surveys are relatively outdated. While initial
       is improving                        views of online degrees were likely more negative in the early and mid-2000s, we believe the
                                           mainstreaming of online education in recent years is slowly having a more positive effect on
                                           perceptions of online education.
                                           Findings from a 2010 survey of hiring managers by the Society for Human Resource
                                           Management (SHRM) survey of hiring managers titled Hiring Practices and Attitudes:
                                           Traditional vs. Online Degree Credentials included:
                                                                    1. 34% reported that job candidates with online degrees were viewed as
                                                                       favorably as those with traditional degrees. 49% viewed them less
                                                                       favorably.
                                                                    2. 87% agreed or strongly agreed with the statement that online degrees
                                                                       are viewed more favorably today than they were five years ago.




Page 17  December 1, 2014
                                                                            AR-C-1676
                       Case 2:21-cv-00177-SRB Document 59-23 Filed 05/16/22 Page 18 of 44

BMO Capital Markets                                                                                                                      2U

                                                                  3. 55% indicated that if two job applicants with the same job experience
                                                                     were applying, it would make no difference whether their degrees
                                                                     were obtained through an online or traditional degree program.
                                                                  4. 43% indicated that an online degree credential is acceptable for an
                                                                     entry-level position, but only 15% indicated that an online degree is
                                                                     acceptable for an executive-level position.
                                                                  5. 79% of organizations indicated that they had hired a job applicant with
                                                                     an online degree in the past 12 months.
                                        This survey also asked participants their views of online degrees by school type. As shown in
                                        Exhibit 22, participants generally had a less favorable view of degrees from for-profit and 100%
                                        online schools.

Exhibit 22. HR Managers Views of Online Degrees by Type (July-August 2010)
                                                                                           Neither more
                                                               Very           Somewhat       nor less     Somewhat        Very
School type                                                 unfavorable      unfavorable    favorable     favorable     favorable
Public not-for-profit that also offers online education          2%               7%           57%           17%           18%
Private not-for-profit that also offers online education        3%               14%           58%           16%           9%
Private for-profit that also offers online education            6%               21%           51%           14%           9%
100% distance learning university                               17%              41%           34%            6%           2%
Source: Society for Human Resource Management.


                                        A 2013 Drexel University study found that employers view online degrees as favorably as their
                                        traditional counterparts if they have these characteristics:

                                                 Accreditation: 100% of employers surveyed said that accreditation is a major factor in
                                                  determining the degree's credibility.

                                                 Traditional campus: 92% of hiring managers in the study stated that they have a favorable
                                                  view of an online degree’s credentials if it is a brick and mortar university offering the
                                                  online learning (vs. 42% if it is an online only university).

                                                 Established brand: Name recognition of the school bestowing the degree was influential
                                                  in determining the degree's relevance.

      But general public                A fall 2013 Gallup poll found that this issue resulted in a 36% discrepancy between perceptions
      still believes                    toward online and traditional education (see Exhibit 23). Other concerns include a lack of quality
      employers do not                  instructors and the rigor of testing and grading.
      like online
      degrees
                                        Exhibit 23. Americans’ Views of Online vs. Traditional Classroom-Based
                                        Education
                                                                                      Online Better   Same   Online Worse   Net Better
                                        Provides a range of options for curriculum        33%          39%       23%            10
                                        Provides good value for the money                 33%          34%       27%             6
                                        Provides a format students can succeed in         23%          42%       30%            -7
                                        Provides tailored instruction                     23%          31%       41%           -18
                                        Provided by well-qualified instructors            15%         37%        43%           -28
                                        Provides rigorous testing and grading             11%          39%       45%           -34
                                        Degree viewed positively by employers             13%          33%       49%           -36
                                        Source: BMO Capital Markets.




Page 18  December 1, 2014
                                                                          AR-C-1677
                  Case 2:21-cv-00177-SRB Document 59-23 Filed 05/16/22 Page 19 of 44

BMO Capital Markets                                                                                                         2U




                             Online Enabler Market

                             Many “online enablers” similar to 2U have emerged in recent years that specialize in helping
                             colleges and universities transform proprietary curriculum into an online courses and offer many
                             services including IT support, recruiting, and marketing. While these traditional schools were at
                             one time reluctant to move their programs online, a combination of financial pressures and greater
                             acceptance of online learning has spurred increased adoption of this format.

                             We believe the online enabler market is highly fragmented, rapidly evolving, and very sensitive to
                             changing technology, shifting student and educator need, and introduction of new methods of
                             education. Most models work on a revenue-sharing basis, which is attractive to the more risk-
                             averse not-for-profit postsecondary community.

    Online enablers          Unfortunately, there is very limited data available on this market. The Parthenon Group estimates
    market grew at a         the online enabler market grew from $105 million in 2003 to $360 million in 2011, a 17% CAGR
    17% CAGR from            (latest data available). Besides 2U, some key players in this business include the following:
    2003-2011
                                Academic Partnerships
                                Altius
                                Bisk Education
                                Deltak (acquired for $220 million by John Wiley & Sons [JWA] in October 2012)
                                EmbanetCompass (acquired by Pearson [PSO] for $650 million in October 2012)
                                Everspring
                                HotChalk
                                Plattform
                                Orbis Education
                                Synergis Education
                             The roots of many of these competitors are from a marketing services angle, while 2U believes its
                             strengths lie as an education-as-a-service provider, similar to a SaaS model.
    Enablers                 We believe the principal competitive factors for the online enabler market include:
    complete on
                                Brand awareness and reputation;
    multiple services
    points                      Robustness of technology offering/breadth and depth of service;
                                Ability to invest/finance program start-up costs;
                                Expertise in program marketing, student acquisition, and retention;
                                Quality of user experience;
                                Ease of deployment and use of solutions;
                                Level of customization, security, scalability, and reliability; and




Page 19  December 1, 2014
                                                           AR-C-1678
                        Case 2:21-cv-00177-SRB Document 59-23 Filed 05/16/22 Page 20 of 44

BMO Capital Markets                                                                                                                     2U

                                               Quality of client base and track record of performance.
        Services,
                                           The Instructional Technology Council (ITC) has surveyed administrators of distance learning
        assessment, and
                                           programs at community colleges annually since 2004. As shown in Exhibit 24, the top issues in
        support staff are
                                           recent years have been adequate student services for distance learning, adequate assessment, and
        top issues for
                                           support staff for training and technical assistance. We believe the concerns across all
        school
                                           postsecondary institutions are fairly similar.
        administrators


Exhibit 24. Greatest Challenges for Administrators of Distance Education Programs (2004-2013)
Challenge                                                    2004      2005     2006    2007   2008   2009   2010   2011     2012    2013
Adequate student services for distance education students     2         5        3       2      2      2      3       1       1        1
Adequate assessment of distance education classes                                                      3      2       2       2        4
Support staff needed for training and technical assistance    1         1        1       1      1      1      1       7       3        2
Operating and equipment budgets                               3         2        2       3      3      4      4       4       4        5
Adequate administrative authority                             5         4        4       5      4      5      5       8       5        3
State authorization regulations                                                                                      11       6        6
Student authentication                                                                                               10       7        9
Compliance with new financial aid attendance requirements                                                             3       8        8
Adequate space for training and technical assistance          7         7        6       6      6      7     6        9        9      10
Faculty acceptance                                            4         3        5       4      5      6     7        5       10       7
Organizational acceptance                                     6         6        7       7      7      8     8        6       11      11
Student acceptance                                            8         8        8       8      8      10    10      12       12      12
Compliance with HEOA requirements for distance education                                               9     9

Source: Annual survey conducted by Instructional Technology Council.


        Not-for-profits are                We believe that nonprofit schools represent a unique opportunity for online enablers. Nonprofit
        key target for                     institutions have the most long-term advantages when it comes to launching online programs, in
        online enablers                    our view; however, they are most disadvantaged (compared to the for-profit colleges) in the
                                           implementation of online learning. Hence, we believe that nonprofits should continue to be a
                                           long-term source of growth for companies like 2U.
                                           Nonprofit advantages in online learning:
                                               Brand name: provides benefits in marketing programs to adult learners in advanced degrees.
                                               Public subsidies: can take the long view as they are not under pressure to be immediately
                                                profitable as are for-profit schools.
                                               Less regulatory scrutiny: nonprofit schools are not subject to the same regulatory
                                                requirements as for-profit schools (i.e., gainful employment).
                                           Nonprofit challenges in developing online learning programs include:
                                               Less experience running profitable online programs: while not-for-profit schools have had
                                                online courses for some time, fully online programs are relatively new.
                                               Cost and technology demands: online programs require more faculty training and the build-
                                                out of online infrastructure, including investments in technology, help desk, and
                                                administrative functions.
                                               Less marketing experience: in contrast to for-profits, many nonprofit schools have limited
                                                experience marketing online programs and reaching targeted audiences.




Page 20  December 1, 2014
                                                                            AR-C-1679
                      Case 2:21-cv-00177-SRB Document 59-23 Filed 05/16/22 Page 21 of 44

BMO Capital Markets                                                                                                               2U

                               2U’s Addressable Market

      8% share in 2011         Using The Parthenon Group’s estimate, 2U, with just under $30 million in 2011 revenues, would
      has likely               have had roughly 8% share of the online enabler market that year. While no comparable data
      expanded                 exists, we believe the company has gained share over that time, with revenues increasing at over a
      significantly            54% CAGR through 2014 (estimated), significantly faster than the industry grew from 2003-2011
                               (17% CAGR).
      Addressable              2U’s management estimates there are currently roughly 140 graduate degree verticals in the U.S.
      market:                  with sizable enrollments (over 1,000 in graduates) that the company could potentially target. This
      management               excludes new degreed programs yet to be developed. Ideal target programs for 2U tend to be
      envisions at least       located in large population centers, have regional employer demand for degree graduates, and are
      $1 billion in            operated under a well-known university brand. Management estimates that if the 2U develops
      “steady state”           programs in 30 verticals, with two schools each, the company can achieve at least $1 billion in
      revenues                 annual “steady state” revenues, a tiny slice of the over $1 trillion spent on higher education
                               worldwide.
                               Other potential markets in the U.S. include doctoral programs and undergraduate degrees (the
                               company added its first bachelor’s degree program in October 2014). Outside the U.S.,
                               management plans to initially target English-speaking countries (such as Canada, U.K., and
                               Australia). 2U entered the international market in January 2013, with a dual master of law degree
                               program from the Washington University School of Law and the Tecnológico de Monterrey’s
                               Escuela de Gobierno y Transformación Pública (the Graduate School of Government and Public
                               Transformation in Mexico).


                               2U’s Service Offerings
      What 2U provides         2U’s clients are nonprofit colleges and universities, which use the company’s platform to offer degreed
                               programs online. These students receive the same degree or credit as on-campus students (where one
                               exists) and generally pay equivalent tuition. 2U provides a suite of technology services that include
                               program marketing, student acquisition, content development, and faculty student and support
                               services. These include technical training and support, non-academic student advising and academic
                               progress monitoring, and career services. The company also facilitates student experiences such as in-
                               program field placements and student immersions.
                               2U provides a cloud-based software as a solution (SaaS) that enables nonprofit colleges and
                               universities to offer full degree programs online. Revenue is generated through revenue-sharing
                               arrangements with clients where 2U receives a contractually specified percentage of tuition and
                               fees from students enrolled in the online programs it enables. The company’s online learning
                               platform and its “technology-enabled” services provide a comprehensive operating infrastructure
                               for colleges and universities to attract, enroll, educate, support, and graduate students in an online
                               degree.
      Who does what            As the company classifies the universities it works as partners, in terms of “who does what”:
                                  2U funds the course development
                                  The university and 2U jointly develop the course content
                                  2U supplies the technology platform and handles “student acquisition”



Page 21  December 1, 2014
                                                             AR-C-1680
                   Case 2:21-cv-00177-SRB Document 59-23 Filed 05/16/22 Page 22 of 44

BMO Capital Markets                                                                                                                     2U

                                       The university handles admissions decisions and the financial aid process
                                       The university supplies the faculty
                                       The university and 2U jointly provide student faculty and support
                                       The university grants the degree
                                   In 2015, the company is expected to provide 17 programs across 13 verticals to 12 university
                                   partners (an additional program has already been announced for 2016). We have summarized
                                   these program offerings in Exhibit 25.


            Exhibit 25. Overview of 2U Programs Offered
                                                                                                                                  Program
            College / University                                                    Degree (s)                                    Launch

                                                                                    Master of Arts in Teaching
                                                                                    Master of Arts in Teaching, TESOL
            University of Southern California - Rossier School of Education         Master of Education in Advanced Instruction      Apr-09
            University of Southern California - School of Social Work               Master of Social Work                            Oct-10

            Georgetown University - School of Nursing and Health Studies            Master of Science in Nursing                     Mar-11
            University of North Carolina at Chapel Hill - Kenan-Flagler Business
            School                                                                  Master of Business Administration                 Jul-11
            Washington University in St. Louis - School of Law                      Master of Laws in U.S. Law                       Jan-13

            University of North Carolina at Chapel Hill - School of Government      Master of Public Administration                  Jan-13
            The George Washington University - School of Public Health and Health
            Services                                                                Master of Public Health                          Jun-13
            American University - School of International Service                   Master of Arts in International Relations        May-13
            Simmons College - School of Nursing and Health Sciences                 Master of Science in Nursing                     Oct-13
            University of California, Berkeley - School of Information              Master of Information and Data Science           Jan-14
            The George Washington University - School of Public Health and Health
            Services                                                                Executive Master of Health Administration        Apr-14
            Simmons College - School of Social Work                                 Master of Social Work                            Jul-14
            Simmons College - School of Nursing and Health Sciences                 Bachelor of Science in Nursing                   Oct-14

            Syracuse University - S.I. Newhouse School of Public Communications     Master of Communication                            2015
                                                                                    Master of Business Administration
            Syracuse University - Martin J. Whitman School of Management            Masters of Science in Accounting                   2015
            Southern Methodist University                                           Masters of Science in Data Science                 2015
            Northwestern University - The Family Institute                          Masters of Arts in Counselling                     2015

            Syracuse University - Martin J. Whitman School of Management            Master of Science in Business Analytics            2016
            Source: Company reports and BMO Capital Markets.


                                   There are a number of components to 2U’s offerings:
      Classes are live             Proprietary, cloud-based Saas platform. 2U’s online learning platform, the “Online Campus”
                                   enables clients to offer educational content through instructor-led classes in a live session,
                                   averaging about ten students a session, with social networking capabilities for interaction and
                                   collaboration. Service components of the Online Campus include:
                                       Virtual, live classes and groups. Live, small-group class session online, with a video and
                                        audio feed of the instructors and each student. The platform allows instructors to lead group



Page 22  December 1, 2014
                                                                    AR-C-1681
                    Case 2:21-cv-00177-SRB Document 59-23 Filed 05/16/22 Page 23 of 44

BMO Capital Markets                                                                                                          2U

                                 discussions, customize the class to individual styles, and display a variety of media such as
                                 documents, images, charts, notes, and videos. Students can collaborate and interact during
                                 class sessions or face-to-face online; this enables group discussions and shared work projects.
                                Delivery of high quality content. 2U and its client collaborate to create public and deliver
                                 video and other asynchronous content, interactive course lectures, individual group
                                 assignments, and assessments. This includes technology solutions to augment content
                                 delivery, such as the ‘Bi-Directional Online Learning Tool.”
                                Dynamic social networking. The Online Campus provides a social interface that connects
                                 students to an extended network of faculty, students, researchers, and administrators in the
                                 university community. Some clients grant lifelong access to online campus for students to
                                 review course content and class sessions. Users have customizable social profiles, multimedia
                                 postings, and dynamic communication and notification tools.
                             Content management system. Clients can author, review, and deploy asynchronous content into
                             their online programs. This includes a set of project management and collaboration tools for
                             clients to integrate faculty work with support from 2U’s course production and content
                             development staff.
                             Application processing portal. The Online Application and Recommendation System (OARS)
                             helps automate the online application process for prospective students. This is integrated with the
                             marketing site for each program, funneling prospective students into the application process and
                             providing tools to automate the workflow for the application process.
                             Customer relationship management. The customer relationships management deployment serves
                             as a data hub for scheduling, student acquisition, student application, admission review, and
                             enrollment and student support for each program.
                             Technology-enabled services for the “Client Program Lifecycle.” 2U offers a comprehensive
                             suite of technology-enabled services to support the lifecycle of a program or course. These
                             include the following:
                                    Content development. The content development staff works with client faculty to
                                     produce high-quality, engaging online content. This includes scripted videos in studio or
                                     on location, interactive content and customized online course material to deliver through
                                     the Online Campus.
                                    Student acquisition. Dedicated marketing services to drive applications for client
                                     programs. The program-specific teams develop creative assets, such as websites related
                                     to the client programs, and execute campaigns to acquire students. The search engine
                                     optimization team supports prospect generation efforts.
      High level of          Dedicated “white glove service.” This refers to a suite of student and faculty support services,
      services provided      which we have summarized below:
      to students
                                Application advising. Program dedicated teams work with prospective students as they
                                 consider and apply to client programs. Once a student submits an application it is routed to
                                 and reviewed by the university admission office.
                                Student and faculty support. 2U assigns an advisor to each student to provide ongoing,
                                 individualized, nonacademic support. In addition, a dedicated support team supports and




Page 23  December 1, 2014
                                                          AR-C-1682
                     Case 2:21-cv-00177-SRB Document 59-23 Filed 05/16/22 Page 24 of 44

BMO Capital Markets                                                                                                            2U

                                  trains university administration and faculty to use Online Campus and other components of
                                  the platform.
                                 In-program student field placements. The field placement team is dedicated to finding
                                  placement opportunities for students in relevant client programs, and it works closely with
                                  faculty to identify and approve sites that meet curriculum requirements. The company has
                                  facilitated in-program field placements across more than 13,000 organizations, resulting in
                                  over 20,000 placements to date.
                                 State authorization services. Each online program on the platform must comply with state
                                  authorization requirements in each state where the student enrolled in the program reside. 2U
                                  will work with most of its clients to identify and satisfy these state authorization
                                  requirements.
                              Services built to scale. The SaaS platform uses open-source technology combined with custom
                              development of instructional design tools and learning components. The technology stack is fully
                              cloud based and hosted on Amazon Web Services, where it can manage hundreds of server
                              instances through its automated deployment technologies. The application programming interface
                              (API) provides a standardized way to provision, manage, engage, and deliver content to students,
                              faculty and administrators – it supports advanced analytics to search and analyze student usage
                              data and evaluate course content.
      Typical contracts       Overview of client contracts. 2U client’s contracts generally have initial terms of 10-15 years that
      are 10-15 years         do not permit either party to terminate for convenience. Most contracts impose liquidated
                              damages for a client’s nonrenewal unless terminated for uncured breach. Most of the leads
                              generated for the client programs are owned by 2U, while the academic content that 2U helps co-
                              develop is owned by clients.
      Revenue sharing         All contracts are revenue-sharing, with the company averaging around 65% (while earlier
      – 2U typically gets     contracts were at 60% some recent contracts have been at higher than average rates). Certain
      65%                     contracts contain multiple specified percentages.
                              Client contracts typically carry varying degrees of limitations for 2U to offer competitive
                              programs, although most of the company’s recent contracts carry few, if any, restrictions. In
                              general, any limitation on competitive programs is inapplicable if the client refuses to scale the
                              program to accommodate qualified students or raises program admission standards. Similarly
                              most contracts prohibit clients from offering any online competitive program.


                              Growth Strategy
    Key drivers of            Substantially all of 2U’s revenues are derived from revenue-share arrangements with clients.
    revenue growth            Thus, the main driver of its revenue growth is the number of student course enrollments in these
                              programs. A number of factors that drive this metric:
    Goal to add no            Adding new programs. Growth is driven through expanding its client base or number of client
    fewer than four           programs. New clients and programs are largely generated through a direct approach by senior
    new programs              management to selected colleges and universities. Management has a goal of adding no fewer
    annually                  than four new programs per year.
                              2U’s two longest-running programs with University of Southern California (USC) accounted for
                              56% of revenues in 3Q14. In addition, its program with Georgetown University School of


Page 24  December 1, 2014
                                                           AR-C-1683
                  Case 2:21-cv-00177-SRB Document 59-23 Filed 05/16/22 Page 25 of 44

BMO Capital Markets                                                                                                          2U

                             Nursing and Health Studies accounted for 15% of revenues that quarter. We expect the
                             contributing percentage from these schools to decline as the company ramps up new programs
                             and increases its number of clients.
    How 2U chooses           New clients and programs are generated through a direct approach by senior management to
    which partners to        selected colleges and universities. 2U uses a proprietary program selection algorithm to develop a
    add                      pipeline of target clients. This model uses a combination of internally generated, publicly
                             available and purchased data on degree programs, student demographics, job market trends,
                             school selectivity and competition, in addition to other factors to identify combinations of
                             colleges and universities programs that it believes will have the best prospects of long-term
                             success. Using correlation analyses, management believes it can forecast enrollments by program
                             for every postsecondary school in the country, which in turn helps guide decision making for the
                             allocation of capital and resources into new programs.
    No longer                For the early part of its history, the company chose to partner with one university per vertical
    provided                 (e.g., USC for education, Georgetown fur nursing). Most of these locations were in larger
    “exclusive”              population centers. Beginning in 2013, that changed with the addition of a nursing program at
    programs by              Simmons College. We expect much of the company’s future growth will come from these
    vertical                 additional programs.
    Program                  The program economics improve as the company adds additional programs within a specific
    economics                vertical. 2U generally invests $9-10 million in capital per program in a new vertical and $4-5
    improve as               million for additional programs. Start-up costs per program include content development costs
    additional               (around $1.5 million) and technology and software development ($300K to $500K) expensed 6-9
    programs added           months prior to a program launch. The actual content is developed over about 24-27 months and
    in existing              technology over 9-12 months.
    verticals
                             A new program is typically cash flow negative for the first three years from its launch, at which
                             point the program is expected to turn profitable (adjusted EBITDA positive). This is based on
                             management’s experience with prior programs and expected initial growth rate of 400-500 new
                             student enrollments per program per year. A new program is expected to reach “steady state” after
                             five to six years from launch. Second programs in a degree vertical are expected to turn profitable
                             and reach steady state at a faster rate, primarily from program and marketing efficiencies (see
                             Exhibit 26).

                             Exhibit 26. New Program Economics
                                                                      1st program       2nd program
                             Total start-up expense                   $9-$10 million    $4-$5 million
                             Timeline to adj. EBITDA positive         3 years           2.5 years
                             "Steady-state" period                    After 5-6 years   After 4-5 years
                             Source: Company reports and BMO Capital Markets.




Page 25  December 1, 2014
                                                            AR-C-1684
                          Case 2:21-cv-00177-SRB Document 59-23 Filed 05/16/22 Page 26 of 44

BMO Capital Markets                                                                                                                                                      2U

      First programs                          We have provided a list of school rankings for each of the programs currently offered by 2U and
      are with highly                         those in development. While we advise taking these ratings “with a grain of salt,” we note that
      ranked                                  almost all of the company’s “first programs” are generally ranked within the top 50 programs in
      institutions                            their respective disciplines, with many receiving fairly high scores (see Exhibit 27).

Exhibit 27. 2U Programs and Their Rankings
College / University                                                    Degree (s)                                  Program Ranking
University of Southern California - Rossier School of Education         Master of Arts in Teaching                     1st  US News and World Report: #18 in Graduate
                                                                        Master of Arts in Teaching, TESOL                   Education (2014)
University of Southern California - School of Social Work               Master of Social Work                          1st  US News and World Report: #11 in Graduate
                                                                                                                            Social Work (2012)
Georgetown University - School of Nursing and Health Studies            Master of Science in Nursing                   1st  US News and World Report: #36 in Graduate
                                                                                                                            Nursing (2011)
University of North Carolina at Chapel Hill - Kenan-Flagler Business    Master of Business Administration              1st  US News and World Report: #19 in Graduate
School                                                                                                                      Business (2014)
Washington University in St. Louis - School of Law                      Master of Laws in U.S. Law                     1st  US News and World Report: #18 in Graduate
                                                                                                                            Law (2014)
University of North Carolina at Chapel Hill - School of Government      Master of Public Administration                1st  US News and World Report: #23 in Graduate
                                                                                                                            Public Affairs (2012)
The George Washington University - School of Public Health and Health   Master of Public Health                        1st  US News and World Report: #21 in Graduate
Services                                                                                                                    Health Care Management (2011)

American University - School of International Service                   Master of Arts in International Relations     1st     Foreign Policy Magazine (2012)
                                                                                                                              #8 Graduate Programs (MA programs)
Simmons College - School of Nursing and Health Sciences                 Master of Science in Nursing                  2nd     US News and World Report: #127 in
                                                                                                                              Graduate Nursing (2011)
University of California, Berkeley - School of Information              Master of Information and Data Science        1st
The George Washington University - School of Public Health and Health   Executive Master of Health Administration     1st     US News and World Report: #21 in Graduate
Services                                                                                                                      Health Care Management (2011)

Simmons College - School of Social Work                                 Master of Social Work                         2nd     US News and World Report: #33 in Graduate
                                                                                                                              Social Work (2012)
Simmons College - School of Nursing and Health Sciences                 Bachelor of Science in Nursing                1st
Syracuse University - S.I. Newhouse School of Public Communications     Master of Communication                       1st     NewsPro-RTDNA Top Journalism Schools:
                                                                                                                              #4 (2013)
Syracuse University - Martin J. Whitman School of Management            Master of Business Administration           2nd/1st   Bloomberg Businessweek: # 69 in fulltime
                                                                        Masters of Science in Accounting                      MBA programs (2014)
Southern Methodist University                                           Masters of Science in Data Science            1st
Northwestern University - The Family Institute                          Masters of Arts in Counselling                1st
Syracuse University - Martin J. Whitman School of Management            Master of Science in Business Analytics       1st     Bloomberg Businessweek: # 69 in fulltime
                                                                                                                              MBA programs (2014)

Source: US News and World Report, school websites and BMO Capital Markets.


                                              Acquiring more students. This depends on 2U’s ability to identify and acquire qualified students
                                              for clients’ online programs. While clients make all the admissions decisions, the number of
                                              students enrolled is significantly dependent on the company’s student acquisition activities. This
                                              is an ongoing resource expense to generate a continuous pipeline of new enrollments.
                                              The company has developed internet-based program marketing and student acquisition
                                              capabilities. Prospective students are identified between three months and two or more years
                                              before they are enrolled. For students currently enrolled and those that have graduated, the
                                              average time from initial lead acquisition to initial enrollment was seven months. As of December
                                              31, 2013, 2U had 265 staff focused on program marketing and sales.
                                              As the schools themselves handle admissions, 2U has no control over those decisions. However,
                                              management believes that the admit rate for its online programs are similar to what the schools
                                              have for similar campus-based programs.
                                              Retaining more students. For students that have graduated, the average time from initial
                                              enrollment to graduation at the time of its IPO was 16 months (based on a small number of



Page 26  December 1, 2014
                                                                                  AR-C-1685
                      Case 2:21-cv-00177-SRB Document 59-23 Filed 05/16/22 Page 27 of 44

BMO Capital Markets                                                                                                           2U

                               graduates). However, based on student retention rates and patterns in client programs,
                               management believes the average time from initial enrollment to graduation for current programs
                               will be 2.5 years.
     Platform revenue          The company discloses a “platform revenue retention rate,” which is calculated using the revenue
     retention rate            from the group of programs that clients launched before the beginning of the prior comparative
     (“same program”           year. This rate measures the revenues recognized for these programs of the current comparative
     growth)                   year as a percentage of prior period revenues. This is comparable to “same-store sales growth” or
                               “comparable store sales metrics” in other industries. Platform revenue retention increased to
                               144% in 2013 from 127% in 2011, driven by increase in course enrollments and no program
                               terminations (see Exhibit 28). In 2014 year to date, this metric has been 128%, although we
                               believe it could skew seasonally higher in 4Q14.

                               Exhibit 28. 2U Platform Revenue Retention Rate (2011 to 2013)
                                                                    180%

                                                                    170%
                                  Platform Revenue Retention Rate




                                                                                              157%
                                                                    160%

                                                                    150%                                144%

                                                                    140%
                                                                           127%
                                                                    130%

                                                                    120%

                                                                    110%

                                                                    100%
                                                                           2011               2012       2013

                               Source: company reports


     High graduation           Management estimates the graduation rates for its programs are in the 82%-84% range. While we
     rates                     were unable to obtain average graduation for graduate programs, the average graduation rate for
                               four-year institutions was 55.7% per the National Center for Education Statistics (for cohort year
                               2006; latest data available). Per management, job placement rates are also solid, in the high
                               80%/low 90% range.


                               Management
                               We believe 2U’s management team brings extensive management expertise and industry
                               experience to the company.
                               Christopher Paucek is one of 2U’s co-founders and has served as the chief executive officer
                               since January 2012 and as a member of the board of directors since March 2012. He previously
                               served as the president and chief operating officer from April 2008 through December 2011. Prior
                               to 2U, Mr. Paucek served as the chief executive officer of Smarterville, Inc., the parent company
                               of Hooked on Phonics, from 2007 until 2008. From 2004 to 2007, Mr. Paucek served as vice
                               president of business development and president of Educate Products for Educate, Inc. In 2004,
                               Mr. Paucek served as deputy campaign manager for the successful reelection campaign of U.S.
                               Senator Barbara Mikulski. Mr. Paucek began his career in 1993 by co-founding Cerebellum



Page 27  December 1, 2014
                                                                                  AR-C-1686
                  Case 2:21-cv-00177-SRB Document 59-23 Filed 05/16/22 Page 28 of 44

BMO Capital Markets                                                                                                       2U

                             Corporation, the media company behind the award winning educational Standard Deviants
                             television program and video series, and he led Cerebellum as co-chief executive officer until
                             2003. Mr. Paucek holds a B.A. from The George Washington University and is currently enrolled
                             in 2U’s MBA@UNC program at the UNC Kenan- Flagler Business School of the University of
                             North Carolina at Chapel Hill.
                             Robert Cohen has served as the company’s president since November 2013 and as the chief
                             operating officer since April 2012. He previously served as the chief financial officer from the
                             inception in 2008 until April 2012. From 2001 to 2008, Mr. Cohen held a number of senior roles
                             at The Princeton Review, including as executive vice president of strategic development and
                             executive vice president and general manager of K12 Services. From 1985 to 2001, Mr. Cohen
                             founded and operated a franchise of The Princeton Review, before selling the franchise back to
                             that company. Mr. Cohen attended Princeton University.
                             Catherine Graham has served as 2U’s chief financial officer since April 2012. Prior to that, she
                             served as chief financial officer for Online Resources Corporation, a publicly held financial
                             technology company, from 2002 to April 2012; the company was sold to ACI Worldwide in 2013.
                             Before that, she served as chief financial officer for VIA NET.WORKS, Inc., a publicly held
                             internet services and web hosting provider, from 1998 to 2002. Previously, she served in senior
                             financial positions with Yurie Systems, a telecommunications equipment manufacturer, and other
                             public companies, as well as with several commercial banks. Ms. Graham holds a B.A. from the
                             University of Maryland and an M.B.A. from Loyola College of Maryland.

                             Jeff Rinehart has served as the company’s chief marketing officer since March 2011. Prior to
                             joining 2U, from 2000 to 2011, Mr. Rinehart worked for Capital One Financial Corporation, a
                             financial services company in a series of progressively more senior leadership roles in its
                             Marketing and Analysis division, including most recently as vice president of marketing strategy
                             for Capital One's consumer credit card division. Mr. Rinehart holds a B.S. and a master's degree
                             in Economics from East Carolina University.


                             Financial Analysis and Forecast

                             Annual Income Statement

                             On November 4, 2014, management provided the following guidance for CY2014:

                                Revenues of $109.2-109.7 million (31-32% growth over 2013)
                                Adjusted EBITDA loss of $(15.8)-(15.4) million, implying margins of (14.5)% to (14)%
                                Adjusted net loss per share of $(0.57)-$(0.58)
                             In addition, the company provided the following “initial look” for CY2015:

                                Revenue growth of 28-31% with annual growth in 1Q15 in the low 20%, although annual
                                 growth for the first half of the year in the range of full-year expectations.
                                Adjusted EBITDA margins of (9)% to (10)%, with higher losses in the first half of the year
                                 due to costs associated with a second January 2015 program launch.



Page 28  December 1, 2014
                                                         AR-C-1687
                       Case 2:21-cv-00177-SRB Document 59-23 Filed 05/16/22 Page 29 of 44

BMO Capital Markets                                                                                                                                   2U

                                         We have provided our annual forecast in Exhibit 29. We project roughly a 24% CAGR growth in
                                         revenues, reaching nearly $320 million in 2019, up from an estimated nearly $110 million in
                                         2014. Over that time, we expect the company’s profitability to improve, moving from an
                                         estimated adjusted EBITDA loss of roughly $16 million in 2014 (-14.4% margins) to positive
                                         adjusted EBITDA of nearly $27 million (8.3% in 2019). Pro forma EPS is expected to improve
                                         from an estimated $(0.57) to a positive $0.50 over the same period.

Exhibit 29. 2U Annual Income Statement (2011 to 2019E)
(Millions, except per-share data)                               2011       2012       2013      2014E     2015E       2016E     2017E     2018E     2019E
Revenue                                                        $29.7      $55.9      $83.1     $109.5    $140.5      $177.3    $219.1    $266.4    $319.9
Cost and expenses
  Servicing and support                                          12.3      14.9       22.7       26.5        32.8     39.9       47.7     56.0       65.6
  Technology and content development                              5.1       8.3       19.5       25.0        30.8     37.3       44.5     52.1       59.4
  Program marketing and sales                                    32.1      45.4       54.1       63.9        79.6     97.1      115.6    135.2      156.0
  General and admininstrative                                     5.1      10.3       14.8       23.3        29.1     33.7       38.3     41.3       44.0
    Total operating expenses                                     54.6      79.0      111.1      138.7       172.4    208.0      246.1    284.6      325.0
Income/(loss) from operations                                   (24.9)    (23.1)     (28.0)     (29.2)      (31.9)   (30.7)     (27.0)   (18.2)      (5.1)
Other income/(expense), net:
  Interest (expense)                                             (0.0)     (0.1)        0.0      (1.1)      0.0         0.0       0.0       0.0        0.0
  Interest income                                                 0.0       0.0         0.0       0.1       0.8         0.7       0.7       0.4        0.5
Total interest and other expense, net                             0.0      (0.0)        0.1      (1.0)      0.8         0.7       0.7       0.4        0.5
Income/(loss) before income taxes                               (24.9)    (23.1)      (28.0)    (30.2)    (31.1)      (30.0)    (26.3)    (17.8)      (4.6)
Income tax expense                                                0.0       0.0         0.0       0.0       0.0         0.0       0.0      (0.4)      (0.1)
Net income/(loss)                                              ($24.9)   ($23.1)     ($28.0)   ($30.2)   ($31.1)     ($30.0)   ($26.3)   ($17.4)     ($4.5)
Preferred stock accretion                                        (0.3)     (0.3)       (0.3)     (0.1)      0.0         0.0       0.0       0.0        0.0
Net income/(loss) attributable to common shareholders          ($25.2)   ($23.5)     ($28.3)   ($30.3)   ($31.1)     ($30.0)   ($26.3)   ($17.4)     ($4.5)
Earnings/(loss) per share (GAAP)                                 N.A.       N.A.     ($0.93)   ($0.80)   ($0.76)     ($0.73)   ($0.63)   ($0.42)    ($0.11)
Adjusted net income/(loss)                                       N.A.      N.A.      ($25.7)   ($21.7)   ($17.6)     ($11.5)    ($2.4)    $7.2      $21.3
Pro forma earnings/(loss) per share                              N.A.      N.A.      ($0.85)   ($0.57)   ($0.43)     ($0.28)   ($0.06)   $0.17      $0.50
Diluted shares outstanding                                       N.A.      N.A.       30.4       37.8        40.7     41.1       41.5     41.9       42.3
Adjusted EBITDA                                                ($22.5)   ($18.8)     ($21.2)   ($15.8)   ($13.0)      ($6.9)     $2.1    $12.4      $26.6
Margin/% of Revenues:
 Servicing and support                                         41.4%      26.7%       27.3%     24.2%     23.4%       22.5%     21.8%    21.0%      20.5%
 Gross margin                                                  58.6%      73.3%       72.7%     75.8%     76.6%       77.5%     78.2%    79.0%      79.5%
 Technology and content development                            17.2%      14.9%       23.4%     22.8%     21.9%       21.1%     20.3%    19.6%      18.6%
 Program marketing and sales                                  108.0%      81.2%       65.1%     58.4%     56.6%       54.7%     52.7%    50.7%      48.7%
 General and admininstrative                                   17.2%      18.5%       17.9%     21.3%     20.7%       19.0%     17.5%    15.5%      13.8%
 Adjusted EBITDA margin                                       -75.7%     -33.7%      -25.6%    -14.4%     -9.2%       -3.9%      1.0%     4.6%       8.3%
 Operating margin                                             -83.8%     -41.3%      -33.7%    -26.6%    -22.7%      -17.3%    -12.3%    -6.8%      -1.6%
 Pretax margin                                                -83.7%     -41.4%      -33.6%    -27.6%    -22.1%      -16.9%    -12.0%    -6.7%      -1.4%
 Tax rate                                                       0.0%       0.0%        0.0%      0.0%      0.0%        0.0%      0.0%     2.0%       2.0%
 Net margin                                                   -83.7%     -41.4%      -33.6%    -27.6%    -22.1%      -16.9%    -12.0%    -6.5%      -1.4%
Percentage Change:
 Revenues                                                        N.A.     87.9%     48.8%      31.7%        28.3%    26.2%      23.6%     21.6%     20.1%
 Servicing and support                                           N.A.     21.3%     52.2%      16.6%        23.9%    21.6%      19.5%     17.4%     17.2%
 Gross profit                                                    N.A.    134.9%     47.5%      37.4%        29.7%    27.6%      24.8%     22.8%     20.8%
 Technology and content development                              N.A.     62.2%    134.6%      28.2%        23.5%    21.1%      19.2%     17.1%     13.9%
 Program marketing and sales                                     N.A.     41.3%     19.2%      18.2%        24.4%    22.0%      19.1%     17.0%     15.3%
 General and admininstrative                                     N.A.    102.6%     43.5%      56.8%        25.2%    15.5%      13.9%      7.7%      6.7%
 Adjusted EBITDA                                                 N.A.    -16.4%     12.9%      25.6%        18.0%    46.9%     130.3%    492.0%    115.3%
 Operating income                                                N.A.      7.3%    -21.4%      -4.2%        -9.2%     3.6%      12.0%     32.6%     71.8%
 Pretax income                                                   N.A.     -7.1%     20.9%       8.0%        -2.9%     3.4%      12.4%     32.4%     74.0%
 Net income                                                      N.A.     -7.1%     20.9%       8.0%        -2.9%     3.4%      12.4%     33.8%     74.0%
 EPS (GAAP)                                                      N.A.       N.A.      N.A.     14.0%         4.6%     4.4%      13.2%     34.4%     74.3%
 EPS (pro forma)                                                 N.A.       N.A.      N.A.     32.2%        24.8%    35.0%      79.3%    394.0%    194.3%
Operating metrics:
Full course equivalent enrollments                            14,099     22,532    31,338      40,443    51,657      63,905    77,460    92,340    108,693
 % annual change                                                 N.A.     59.8%     39.1%       29.1%     27.7%       23.7%     21.2%     19.2%      17.7%
Revenues per full course equivalent enrollments               $2,109     $2,480    $2,653      $2,707    $2,720      $2,774    $2,829    $2,885     $2,943
 % annual change                                                 N.A.     17.6%      7.0%        2.1%      0.5%        2.0%      2.0%      2.0%       2.0%

N.M. – Not Meaningful. N.A. – Not Available. Source: BMO Capital Markets estimates and corporate reports.




Page 29  December 1, 2014
                                                                         AR-C-1688
                   Case 2:21-cv-00177-SRB Document 59-23 Filed 05/16/22 Page 30 of 44

BMO Capital Markets                                                                                                                                                                     2U

      Projected revenue      As shown in Exhibit 30, we project roughly a 24% CAGR growth in revenues, reaching nearly
      growth of nearly       $320 million in 2019, up from an estimated nearly $110 million in 2014.
      24% CAGR from
      2014 through 2019      Exhibit 30. 2U Revenues (2011 to 2019)
                                                                              $350                                                                                     $319.9    10%
                                                                                                                Revenue            Adjusted EBITDA margin
                                                                                                                                                                                 0%




                                                                                                                                                                                         Adjusted EBITDA Margins
                                                                               300


                                                       Revenues ($ in mil.)
                                                                                                                                                              $266.4             -10%
                                                                               250                                                                                               -20%
                                                                                                                                                     $219.1
                                                                                                                                                                                 -30%
                                                                               200                                                       $177.3
                                                                                                                                                                                 -40%
                                                                                                                              $140.5
                                                                               150
                                                                                                                                                                                 -50%
                                                                                                                   $109.5
                                                                               100                      $83.1                                                                    -60%
                                                                                              $55.9                                                                              -70%
                                                                                50   $29.7
                                                                                                                                                                                 -80%
                                                                                0                                                                                                -90%
                                                                                     2011     2012      2013       2014E      2015E      2016E       2017E     2018E   2019E


                             Source: Company reports and BMO Capital Markets.


      Strong revenue         We believe the company has strong revenue visibility based on the number of students that start a
      visibility             course and its expectations for completion. Future revenue growth is expected to be driven by a
                             number of operating metrics:
                                                                      Growth in full-time course equivalents (FCE). The FCE is determined for each course
                                                                       offered by the number of students enrolled in that course, multiplied by the percentage of the
     Projected nearly                                                  course completed in that period (this is done because many courses often straddle two or
     22% CAGR                                                          more fiscal quarters). We project nearly a 22% CAGR increase in FCE, reaching roughly
     growth in FCE’s                                                   108,700 at the end of 2019 from an estimated 40,443 at the end of 2014. This is about half the
     from 2014 to 2019                                                 estimated 42.1% CAGR growth the company has generated in this metric since 2011 (see
                                                                       Exhibit 31).

                             Exhibit 31. 2U Full-Time Course Equivalents (2011 to 2019E)
                                                                  120,000                                                                                                        70%
                                 Full Course Equivalent Enrollments




                                                                                                        Full course equivalent enrollments        Annual % change      108,693

                                                                  100,000                                                                                                        60%
                                                                                                                                                              92,340

                                                                                                                                                     77,460                      50%
                                                                         80,000


                                                                                                                                                                                        % Change y/y
                                                                                                                                         63,905                                  40%
                                                                         60,000                                               51,657
                                                                                                                                                                                 30%
                                                                                                                   40,443
                                                                         40,000                        31,338
                                                                                                                                                                                 20%
                                                                                              22,532
                                                                         20,000      14,099
                                                                                                                                                                                 10%

                                                                                 0                                                                                               0%
                                                                                     2011     2012      2013       2014E      2015E      2016E       2017E     2018E   2019E


                             Source: Company reports and BMO Capital Markets.




Page 30  December 1, 2014
                                                                                                       AR-C-1689
                  Case 2:21-cv-00177-SRB Document 59-23 Filed 05/16/22 Page 31 of 44

BMO Capital Markets                                                                                                                                                    2U

      Projected revenue                         Growth in revenue per FCE. From 2011 through 2014 (estimated), revenues per FCE
      per FCE growth of                          increased at an 8.7% CAGR rate, reaching an estimated $2,706 in 2014. As the company adds
      1.7% CAGR                                  new programs within an existing vertical, these programs typically have lower tuition rates
      through 2019                               than the initial program in that discipline, putting some pressure on average revenue per FCE
                                                 over time. We have reflected this in our model, projecting a 1.7% CAGR through 2019,
                                                 reaching roughly $2,943 that year (see Exhibit 32). However, management believes this
                                                 strategy will enable it to leverage program marketing investments across multiple client
                                                 programs, offsetting the decrease in revenue per FCE with lower student acquisition costs.

                             Exhibit 32. Revenue per FCE (2011 to 2019E)
                                                                              Revenues per full course equivalent enrollments          Annual % change
                                                            $3,500                                                                                               20%
                                 Revenues per Full Course




                                                                                                                                            $2,885   $2,943      18%
                                  Equivalent Enrollments




                                                             3,000                                                        $2,774   $2,829
                                                                                         $2,653     $2,707     $2,720
                                                                                                                                                                 16%
                                                                              $2,480
                                                             2,500                                                                                               14%
                                                                     $2,109




                                                                                                                                                                       % Change y/y
                                                                                                                                                                 12%
                                                             2,000
                                                                                                                                                                 10%
                                                             1,500
                                                                                                                                                                 8%

                                                             1,000                                                                                               6%
                                                                                                                                                                 4%
                                                              500
                                                                                                                                                                 2%
                                                                0                                                                                                0%
                                                                     2011      2012       2013      2014E      2015E      2016E    2017E    2018E        2019E

                             Source: Company reports and BMO Capital Markets.


      Margin expansion       We believe there are a number of levers the company can use to improve margins over time.
      potential                                 Servicing and support are the costs related to program management and operations, as well as
                                                 costs for platform technical support and faculty and student support. While most of these
                                                 costs are variable by student, some are somewhat fixed (e.g., establishing placement contracts
                                                 for clinical positions).
                                                Technology and content development are the costs related to improving and maintaining the
                                                 technology platform and content. These are semi-variable with about 80% of the costs
                                                 capitalized and generally written off from three (technology) to five years (content).
                                                Program marketing and sales are the company’s student acquisition costs. These costs
                                                 typically begin as soon as the company enters into an engagement with a new client, which
                                                 can be as much as nine months before the start of a new program. Thus, this expense could be
                                                 seen as an investment to generate revenue in future periods. Management believes these costs
                                                 will decline as multiple programs are launched within a degree vertical, due to marketing
                                                 synergies spread across multiple programs. The lifetime revenue of a program as a multiple
                                                 of student acquisition expense has grown from 2.4x to above 3.2x, per management, as
                                                 second programs are added to degree verticals.
                                                General and administrative are mostly fixed costs.
                             Management believes margins will improve significantly as the company expands and reaches its
                             “steady state” growth rate, primarily due to leverage from program and marketing expenses (see
                             Exhibit 33).



Page 31  December 1, 2014
                                                                                       AR-C-1690
                   Case 2:21-cv-00177-SRB Document 59-23 Filed 05/16/22 Page 32 of 44

BMO Capital Markets                                                                                                                                                        2U

                             Exhibit 33. Long-Term Margin Targets
                                                                                                                                                     Steady-State
                                                                                                                   2011         2012        2013           Target
                             Servicing & Support                                                                   41%           26%         27%          15-17%
                             Technology & Content Development                                                      13%           10%         19%          11-13%
                             Program & Marketing Sales                                                            107%           81%         65%          31-33%
                             General & Administrative                                                              15%           17%         16%            6-7%
                             Adj. EBITDA Margin                                                                   -76%          -34%        -26%        Mid-30s%
                             Source: Company reports and BMO Capital Markets.


      Could be adjusted      The company calculates adjusted EBITDA by removing stock-based compensation and one-time
      EBITDA positive        charges. When 2U went public (March 2014), management stated a goal to be adjusted EBITDA
      as early as 2017       positive “within three to five years.” Recently, management has stated expectations that the
                             company is now at the low end of this time range (say 2017), with the caveat that if the company
                             were to significantly accelerate its program launch schedule, it could take a bit longer.
                             Nevertheless, we believe the company is well on its way. We forecast adjusted EBITDA will
                             increase from an estimated negative $(15.8) million in 2014 to a positive $26.6 million in 2019,
                             with EBITDA margins expanding from an estimated negative (14.4)% in 2014 to 8.3% in 2019
                             and the company potentially turning adjusted EBITDA positive in 2017 (see Exhibit 34).

                             Exhibit 34. 2U Adjusted EBITDA and Margins (2011-2019E)
                                                              $30                                                                                   $26.6   10%
                                                                                             Adjusted EBITDA           Adjusted EBITDA margin
                                                                                                                                                            0%
                                Adjusted EBITDA ($ in mil.)




                                                                                                                                                                   Adjusted EBITDA Margin
                                                               20
                                                                                                                                                            -10%
                                                                                                                                            $12.4
                                                                                                                                                            -20%
                                                               10
                                                                                                                                  $2.1                      -30%
                                                               0                                                                                            -40%
                                                                                                                                                            -50%
                                                              -10                                                      ($6.9)                               -60%
                                                                                                            ($13.0)                                         -70%
                                                              -20                                 ($15.8)
                                                                              ($18.8)                                                                       -80%
                                                                    ($22.5)             ($21.2)
                                                              -30                                                                                           -90%
                                                                     2011      2012      2013     2014E        2015E   2016E     2017E     2018E    2019E

                             Source: Company reports and BMO Capital Markets.


      Cash flow should       Free cash flow should follow close to the same trajectory. We forecast free cash flow will
      follow close to the    increase from an estimated $(26.5) million in 2014 to $12.1 million in 2019, with the company
      same trajectory        turning free cash flow positive in 2018 (see Exhibit 35).




Page 32  December 1, 2014
                                                                                         AR-C-1691
                    Case 2:21-cv-00177-SRB Document 59-23 Filed 05/16/22 Page 33 of 44

BMO Capital Markets                                                                                                                                                                            2U

                             Exhibit 35. 2U Free Cash Flow and Free Cash Flow per Share (2011 to
                             2019E)
                                                                  $20                                                                                                            $0.40
                                                                                                    Free cash flow                Free cash flow per share
                                                                                                                                                                       $12.1




                               Free Cash Flow ($ in mil.)
                                                                                                                                                                                 0.20
                                                                   10




                                                                                                                                                                                         FCF per share
                                                                                                                                                              $2.2
                                                                                                                                                                                 0.00
                                                                   0
                                                                                                                                                                                 -0.20
                                                                  -10
                                                                                                                                                  ($10.6)                        -0.40

                                                                  -20
                                                                                                                                                                                 -0.60
                                                                                                                                      ($20.9)
                                                                                                  ($23.3)
                                                                        ($24.8)      ($25.0)                              ($25.9)
                                                                  -30                                         ($26.5)                                                            -0.80
                                                                         2011         2012          2013       2014E       2015E      2016E       2017E      2018E     2019E


                             Source: Company reports and BMO Capital Markets.


      Pro forma EPS          The company calculates adjusted net income by removing stock-based compensation and one-
      (excluding stock-      time charges on an after-tax basis. The company has a sizeable amount of net operating losses
      based                  (federal NOLs of $86 million and state NOLs of $73.1 million as of December 31, 2013) and does
      compensation           not expect to book any GAAP tax expense for the foreseeable future. We forecast adjusted net
      and one-time           income will increase from an estimated $(21.7) million in 2014 to just over $21 million in 2019.
      items) positive        This would equate to pro forma EPS rising from an estimated $(0.57) in 2014 to $0.50 in 2019
      beginning in 2018      (see Exhibit 36).

                             Exhibit 36. 2U Adjusted Net Income and EPS (2013 to 2019E)

                                                                  $30                                                                                                    $0.50   $0.60
                                                                                            Adjusted net income/(loss)       Pro forma earnings/(loss) per share
                               Adj.Net Income/Loss) ($ in mil.)




                                                                                                                                                                                 0.40
                                                                   20
                                                                                                                                                                                 0.20




                                                                                                                                                                                         Pro Foram EPS
                                                                                                                                                              $0.17
                                                                   10
                                                                                                                                                                                 0.00
                                                                                                                                                ($0.06)
                                                                   0                                                                                                             -0.20
                                                                                                                               ($0.28)
                                                                                                                ($0.43)                                                          -0.40
                                                                  -10
                                                                                                 ($0.57)                                                                         -0.60
                                                                  -20
                                                                                                                                                                                 -0.80
                                                                                  ($0.85)
                                                                  -30                                                                                                            -1.00
                                                                          2013              2014E           2015E         2016E          2017E            2018E       2019E

                             Note: Adjusted net income and EPS not available for 2011 and 2012. Source: Company reports and BMO Capital
                             Markets.




                             Quarterly Income Statement

      Quarterly              2U’s client programs usually start classes for new and returning students an average of four times
      variability            per year. Class starts are not necessarily evenly spaced throughout the year, nor do they
                             correspond to the traditional academic calendar and can vary year to year. Hence, the number of


Page 33  December 1, 2014
                                                                                                    AR-C-1692
                                         Case 2:21-cv-00177-SRB Document 59-23 Filed 05/16/22 Page 34 of 44

BMO Capital Markets                                                                                                                                                                                                                                       2U

                                                                   classes in session and number of students enrolled will vary quarter to quarter. In addition,
                                                                   program semesters often straddle two fiscal quarters and clients pay once they have billed tuition
                                                                   and fees to students, which is typically early in the semester.
                                                                   Our quarterly income statement is shown in Exhibit 37. We project annual revenue growth of
                                                                   roughly 21% in 4Q14 (quarter ending December 31) to $30 million from $24.8 million in 4Q13.
                                                                   We project an adjusted EBITDA loss of $(1.6) million versus $(3.2) million in 4Q13, generating
                                                                   adjusted EBITDA margins of (5.3)%, up from (13)%. In addition, we forecast a pro forma EPS
                                                                   loss of $(0.07) for the quarter.



Exhibit 37. 2U Quarterly Income Statement (2013- 2016E)
(Millions, except per-share data)                                      2013                                               2014E                                             2015E                                            2016E
                                                         1Q13       2Q13        3Q13      4Q13      2013    1Q14A     2Q14A     3Q14A       4Q14     2014E     1Q15       2Q15     3Q15      4Q15      2015E     1Q16      2Q16     3Q16       4Q16      2016E
Revenue                                                 $19.1      $18.7       $20.5     $24.8     $83.1     $26.3     $24.7     $28.4     $30.0    $109.5    $31.8      $33.6    $36.5     $38.6     $140.5    $37.3     $44.9    $46.2      $48.8     $177.3
Cost and expenses
  Servicing and support                                   5.0        5.7         5.8       6.2      22.7      6.2        7.0      6.6       6.6       26.5      7.4        9.2      8.1       8.2       32.8      8.3       11.8      9.9       9.9       39.9
  Technology and content development                      3.2        4.6         5.1       6.5      19.5      5.7        5.8      5.7       7.8       25.0      6.7        7.6      7.0       9.6       30.8      7.5        9.7      8.4      11.7       37.3
  Program marketing and sales                            11.8       13.7        15.4      13.2      54.1     15.2       16.7     17.0      15.0       63.9     17.9       22.0     21.1      18.5       79.6     20.3       28.5     25.8      22.5       97.1
  General and admininstrative                             2.9        3.7         4.3       4.0      14.8      5.4        5.7      6.3       5.8       23.3      6.9        7.4      7.7       7.1       29.1      7.4        9.1      9.0       8.1       33.7
    Total operating expenses                             22.9       27.6        30.6      30.0     111.1     32.6       35.2     35.6      35.2      138.7     38.9       46.1     44.0      43.4      172.4     43.5       59.2     53.1      52.2      208.0
Income/(loss) from operations                            (3.8)      (8.9)      (10.1)     (5.2)    (28.0)    (6.3)     (10.5)    (7.2)     (5.2)     (29.2)    (7.1)     (12.6)    (7.4)     (4.8)     (31.9)    (6.2)     (14.3)    (6.8)     (3.4)     (30.7)
Other income/(expense), net:
  Interest (expense)                                       0.0       0.0        (0.0)      0.0       0.0      (0.8)     (0.1)     (0.2)      0.0      (1.1)      0.0       0.0       0.0       0.0       0.0       0.0       0.0       0.0       0.0       0.0
  Interest income                                          0.0       0.0         0.0       0.0       0.0       0.0       0.0       0.0       0.0       0.1       0.2       0.2       0.2       0.1       0.8       0.3       0.2       0.1       0.1       0.7
Total interest and other expense, net                      0.0       0.0         0.0       0.0       0.1      (0.8)     (0.1)     (0.1)      0.0      (1.0)      0.2       0.2       0.2       0.1       0.8       0.3       0.2       0.1       0.1       0.7
Income/(loss) before income taxes                         (3.7)     (8.9)      (10.1)     (5.2)    (28.0)     (7.1)    (10.6)     (7.3)     (5.2)    (30.2)     (6.8)    (12.3)     (7.2)     (4.6)    (31.1)     (6.0)    (14.1)     (6.7)     (3.2)    (30.0)
Income tax expense                                         0.0       0.0         0.0       0.0       0.0       0.0       0.0       0.0       0.0       0.0       0.0       0.0       0.0       0.0       0.0       0.0       0.0       0.0       0.0       0.0
Net income/(loss)                                        ($3.7)    ($8.9)     ($10.1)    ($5.2)   ($28.0)    ($7.1)   ($10.6)    ($7.3)    ($5.2)   ($30.2)    ($6.8)   ($12.3)    ($7.2)    ($4.6)   ($31.1)    ($6.0)   ($14.1)    ($6.7)    ($3.2)   ($30.0)
Preferred stock accretion                                 (0.1)     (0.1)                           (0.3)     (0.1)     (0.0)      0.0       0.0      (0.1)
Net income/(loss) attributable to common shareholders    ($3.8)    ($9.0)     ($10.1)    ($5.2)   ($28.3)    ($7.1)   ($10.6)    ($7.3)    ($5.2)   ($30.3)    ($6.8)   ($12.3)    ($7.2)    ($4.6)   ($31.1)    ($6.0)   ($14.1)    ($6.7)    ($3.2)   ($30.0)

Earnings/(loss) per share (GAAP)                        ($0.52)   ($1.21)     ($1.37)   ($0.70)   ($0.93)   ($0.23)   ($0.27)   ($0.18)   ($0.13)   ($0.80)   ($0.17)   ($0.30)   ($0.18)   ($0.11)   ($0.76)   ($0.15)   ($0.34)   ($0.16)   ($0.08)   ($0.73)
Adjusted net income/(loss)                               ($3.3)    ($8.3)      ($9.5)    ($4.5)   ($25.7)    ($5.2)    ($8.5)    ($5.1)    ($2.9)   ($21.7)    ($3.8)    ($8.8)    ($3.7)    ($1.1)   ($17.6)    ($1.9)    ($9.3)    ($1.9)    $1.5     ($11.5)
Pro forma earnings/(loss) per share                        N.A.      N.A.        N.A.      N.A.   ($0.85)   ($0.20)   ($0.22)   ($0.13)   ($0.07)   ($0.57)   ($0.09)   ($0.22)   ($0.09)   ($0.03)   ($0.43)   ($0.05)   ($0.23)   ($0.05)   $0.04     ($0.28)

Diluted shares outstanding                                 7.4       7.4         7.4       7.4      30.4     31.2      39.3      40.3      40.4       37.8     40.5      40.6      40.7      40.8       40.7     40.9      41.0      41.1      41.2       41.1
Adjusted EBITDA                                          ($2.4)    ($7.3)      ($8.4)    ($3.2)   ($21.2)    ($3.8)    ($7.1)    ($3.4)    ($1.6)   ($15.8)    ($2.8)    ($7.7)    ($2.6)    $0.1     ($13.0)    ($0.9)    ($8.2)    ($0.7)    $2.8      ($6.9)
Margin/% of Revenues:
 Servicing and support                                   26.2%     30.3%       28.5%     25.0%     27.3%     23.7%     28.3%     23.2%     22.1%     24.2%     23.2%     27.3%     22.2%     21.1%     23.4%     22.3%     26.4%     21.3%    20.2%      22.5%
 Gross margin                                            73.8%     69.7%       71.5%     75.0%     72.7%     76.3%     71.7%     76.8%     77.9%     75.8%     76.8%     72.7%     77.8%     78.9%     76.6%     77.7%     73.6%     78.7%    79.8%      77.5%
 Technology and content development                      16.9%     24.6%       24.9%     26.3%     23.4%     21.5%     23.5%     20.2%     25.8%     22.8%     21.0%     22.5%     19.2%     24.8%     21.9%     20.1%     21.6%     18.3%    23.9%      21.1%
 Program marketing and sales                             61.5%     73.3%       75.2%     53.3%     65.1%     57.9%     67.5%     59.7%     50.0%     58.4%     56.4%     65.5%     57.7%     48.0%     56.6%     54.4%     63.5%     55.7%    46.0%      54.7%
 General and admininstrative                             15.0%     19.5%       20.8%     16.3%     17.9%     20.6%     23.1%     22.2%     19.4%     21.3%     21.6%     22.1%     21.2%     18.4%     20.7%     19.9%     20.3%     19.4%    16.7%      19.0%
 Adjusted EBITDA margin                                 -12.5%    -38.9%      -40.8%    -13.0%    -25.6%    -14.4%    -28.6%    -11.8%     -5.3%    -14.4%     -8.8%    -23.0%     -7.0%      0.3%     -9.2%     -2.3%    -18.2%     -1.5%     5.8%      -3.9%
 Operating margin                                       -19.7%    -47.7%      -49.5%    -21.0%    -33.7%    -23.8%    -42.4%    -25.3%    -17.4%    -26.6%    -22.3%    -37.4%    -20.3%    -12.4%    -22.7%    -16.7%    -31.9%    -14.8%    -6.9%     -17.3%
 Pretax margin                                          -19.6%    -47.6%      -49.4%    -20.9%    -33.6%    -26.8%    -42.8%    -25.8%    -17.3%    -27.6%    -21.5%    -36.7%    -19.8%    -12.0%    -22.1%    -16.1%    -31.3%    -14.5%    -6.7%     -16.9%
 Tax rate                                                 0.0%      0.0%        0.0%      0.0%      0.0%      0.0%      0.0%      0.0%      0.0%      0.0%      0.0%      0.0%      0.0%      0.0%      0.0%      0.0%      0.0%      0.0%     0.0%       0.0%
 Net margin                                             -19.6%    -47.6%      -49.4%    -20.9%    -33.6%    -26.8%    -42.8%    -25.8%    -17.3%    -27.6%    -21.5%    -36.7%    -19.8%    -12.0%    -22.1%    -16.1%    -31.3%    -14.5%    -6.7%     -16.9%
Percentage Change:
 Revenues                                                46.0%     39.8%       57.9%     51.1%     48.8%     37.6%     32.4%     38.6%     21.0%    31.7%      20.6%     35.7%    28.7%      28.7%    28.3%     17.4%      33.7%    26.5%    26.5%      26.2%
 Servicing and support                                   60.9%     49.7%       61.5%     40.6%     52.2%     24.5%     23.8%     12.9%      7.1%    16.6%      18.1%     30.9%    23.1%      22.9%    23.9%     12.8%      29.3%    21.4%    21.1%      21.6%
 Gross profit                                            41.3%     35.9%       56.5%     54.9%     47.5%     42.3%     36.1%     48.8%     25.6%    37.4%      21.4%     37.6%    30.3%      30.3%    29.7%     18.7%      35.3%    28.0%    28.0%      27.6%
 Technology and content development                      76.4%    153.6%      145.9%    153.6%    134.6%     75.4%     26.6%     12.0%     18.7%    28.2%      17.9%     29.9%    22.3%      23.7%    23.5%     12.3%      28.3%    20.6%    21.9%      21.1%
 Program marketing and sales                             14.3%     20.4%       20.2%     21.4%     19.2%     29.5%     22.0%     10.1%     13.5%    18.2%      17.5%     31.7%    24.4%      23.5%    24.4%     13.2%      29.6%    22.2%    21.3%      22.0%
 General and admininstrative                             21.7%     57.6%       93.6%     16.9%     43.5%     89.3%     56.2%     47.6%     44.0%    56.8%      26.5%     29.8%    22.9%      22.0%    25.2%      7.9%      23.1%    16.1%    14.5%      15.5%
 Adjusted EBITDA                                        -46.8%     22.9%        8.0%    389.7%     12.9%     58.0%     -2.4%    -59.9%    -50.7%    25.6%      26.1%     -8.8%    23.5%     106.4%    18.0%     69.1%      -6.0%    73.3% -2679.6%      46.9%
 Operating income                                        16.5%    -50.8%      -31.0%      5.6%    -21.4%    -66.7%    -17.8%     29.1%      0.5%    -4.2%     -13.0%    -19.7%    -3.3%       8.3%    -9.2%     11.9%     -13.8%     8.0%    30.1%       3.6%
 Pretax income                                          -16.8%     50.4%       30.5%      5.1%     20.9%     88.2%     19.1%    -27.6%      0.3%     8.0%       3.0%    -16.3%     1.2%      10.7%    -2.9%     12.5%     -14.1%     7.7%    30.0%       3.4%
 Net income                                             -16.8%     50.4%       30.5%      5.1%     20.9%     88.2%     19.1%    -27.6%      0.3%     8.0%       3.0%    -16.3%     1.2%      10.7%    -2.9%     12.5%     -14.1%     7.7%    30.0%       3.4%
 EPS (GAAP)                                                N.A.      N.A.        N.A.      N.A.      N.A.      N.A.      N.A.      N.A.      N.A.   14.0%      26.2%    -12.6%     2.3%      11.5%     4.6%     13.3%     -12.9%     8.6%    30.7%       4.4%
 EPS (pro forma)                                           N.A.      N.A.        N.A.      N.A.      N.A.      N.A.      N.A.      N.A.      N.A.   32.2%      52.6%      0.0%    27.2%      60.9%    24.8%     51.4%      -4.1%    49.6%   232.9%      35.0%
Operating metrics:
Full course equivalent enrollments                       7,650     6,950       7,673     9,065    31,338     9,809     9,331    10,389    10,914    40,443    11,776    12,602    13,304    13,976    51,657    13,549    16,515    16,504    17,338    63,905
 % annual change                                         37.1%     25.8%       50.5%     43.2%     39.1%     28.2%     34.3%     35.4%     20.4%     29.1%     20.1%     35.1%     28.1%     28.1%     27.7%     15.1%     31.1%     24.1%     24.1%     23.7%
Revenues per full course equivalent enrollments         $2,501    $2,689      $2,672    $2,736    $2,653    $2,685    $2,652    $2,734    $2,749    $2,707    $2,698    $2,664    $2,747    $2,762    $2,720    $2,752    $2,718    $2,802    $2,818    $2,774
 % annual change                                          6.5%     11.1%        4.9%      5.5%      7.0%      7.3%     -1.4%      2.3%      0.5%      2.1%      0.5%      0.5%      0.5%      0.5%      0.5%      2.0%      2.0%      2.0%      2.0%      2.0%


Source: Company reports and BMO Capital Markets.




Page 34  December 1, 2014
                                                                                                                           AR-C-1693
                       Case 2:21-cv-00177-SRB Document 59-23 Filed 05/16/22 Page 35 of 44

BMO Capital Markets                                                                                                                      2U


                                        Balance Sheet and Cash Flow Statement

                                        Exhibits 38 and 39 present our annual balance sheet and cash flow projections through 2019. The
                                        company raised just over $100 million as part of its March 2014 IPO. It currently has no debt but
                                        has a $37 million available line of credit.

Exhibit 38. 2U Condensed Annual Balance Sheet (12/31/12–12/31/19E)
(Millions, except per-share data)                              12/31/12   12/31/13 12/31/14E 12/31/15E 12/31/16E 12/31/17E 12/31/18E 12/31/19E
ASSETS
Current assets:
 Cash & cash equivalents                                         $25.2       $7.0     $82.0     $56.1     $35.2     $24.6     $26.8     $39.0
 Accounts receivables, net                                         0.2        1.8       2.2       2.8       3.6       4.4       5.4       6.5
 Other current assets:                                             1.3        2.3       2.1       2.6       3.1       3.6       4.2       4.7
  Total current assets                                            26.8       11.2      86.3      61.5      41.9      32.6      36.4      50.2
Property and equipment, net                                        4.9        5.2       5.5       6.2       6.9       7.5       8.0       8.4
Capitalized content development costs                              6.6        8.9      13.8      20.0      26.7      34.2      42.6      51.8
Related party receivables                                          0.3        0.0       0.0       0.0       0.0       0.0       0.0       0.0
Advance to clients, noncurrent                                     0.5        0.0       0.0       0.0       0.0       0.0       0.0       0.0
Other non-current assets                                           0.9        3.3       4.0       5.2       6.6       8.1       9.8      11.8
  Total assets                                                   $39.9      $28.7    $109.6     $92.9     $82.0     $82.5     $96.9    $122.2
LIABILITIES AND STOCKHOLDERS' EQUITY
Current liabilities:
Accounts payable                                                  $3.0       $5.1      $6.0      $9.6     $14.4     $21.2     $29.3     $36.6
Accrued expenses and other current liabilities                     6.0       12.0      14.1      22.6      34.0      50.1      69.1      86.6
Deferred revenue                                                   0.7        1.3       1.5       2.6       4.1       6.3       9.1      12.1
Refunds payable                                                    1.2        1.8       2.5       3.3       4.1       5.1       6.2       7.4
Line of credit                                                     0.0        0.0       0.0       0.0       0.0       0.0       0.0       0.0
  Total current liabilities                                       11.0       20.2      24.2      38.0      56.6      82.6     113.7     142.7
 Rebate reserve                                                    0.0        1.6       0.7       0.9       1.1       1.4       1.7       2.0
 Debt obligations, noncurrent                                      1.9        0.0       0.0       0.0       0.0       0.0       0.0       0.0
 Other non-current liabilities                                     0.6        0.8       1.0       1.3       1.7       2.1       2.5       3.0
  Total liabilities                                               13.5       22.6      25.9      40.2      59.3      86.0     117.9     147.7
Stockholders' equity                                              26.4        6.0      83.7      52.7      22.7      (3.6)    (21.0)    (25.5)
   Total Liabilities and Stockholders' Equity                    $39.9      $28.7    $109.6     $92.9     $82.0     $82.5     $96.9    $122.2

Days' Sales Outstanding                                            1.4        6.8       6.7       6.7       6.7       6.7       6.7       6.7
Net Cash / (Debt)                                                $23.3       $7.0     $82.0     $56.1     $35.2     $24.6     $26.8     $39.0
Book Value Per Share                                               N.A.     $0.81     $2.07     $1.29     $0.55    ($0.09)   ($0.50)   ($0.60)
Net Cash/ (Debt) Per Share                                         N.A.     $0.95     $2.03     $1.38     $0.85     $0.59     $0.64     $0.92
Source: BMO Capital Markets estimates and corporate reports.




Page 35  December 1, 2014
                                                                    AR-C-1694
                       Case 2:21-cv-00177-SRB Document 59-23 Filed 05/16/22 Page 36 of 44

BMO Capital Markets                                                                                                                                    2U

Exhibit 39. 2U Condensed Annual Cash Flow Statement (2011–2019E)
                                                                    2011      2012        2013      2014      2015      2016      2017      2018     2019
Cash flows from operating activities
Net income/(loss)                                                  ($24.9)   ($23.1)     ($28.0)   ($30.2)   ($31.1)   ($30.0)   ($26.3)   ($17.4)   ($4.5)
Depreciation and amortization expense                                 1.6       2.9         4.3       5.6       5.4       5.4       5.2       5.1      5.3
Stock based compensation expense                                      0.8       1.4         2.4       7.8      13.5      18.5      23.9      25.1     26.3
Interest expense incurred in connnection with convertible debt        0.0       0.0         0.0       0.0       0.0       0.0       0.0       0.0      0.0
Amortization of deferred financing costs                              0.0       0.1         0.0       0.0       0.0       0.0       0.0       0.0      0.0
Change in fair value of Series D warrants                             0.0      (0.0)       (0.0)      0.7       0.0       0.0       0.0       0.0      0.0
Provision for bad debts                                               0.0       0.0         0.0       0.0       0.0       0.0       0.0       0.0      0.0
Other non-operating and non-cash items                                0.0       0.0         0.8       0.0       0.0       0.0       0.0       0.0      0.0
Changes in operating assets and liabilities                           3.9      (1.4)        4.7       0.4      (1.4)     (2.0)     (0.1)      3.5     (0.1)
   Net cash (used in)/provided by operating activities              (18.6)    (20.2)      (15.7)    (15.7)    (13.6)     (8.1)      2.7      16.3     27.0
Cash flows from investing activities
Expenditures of property, equipment and internally developed sof     (2.5)     (2.3)       (2.4)     (2.8)     (3.2)     (3.6)     (4.0)     (4.4)    (4.7)
Capitalized content cost expenditures                                (3.7)     (2.6)       (5.2)     (8.0)     (9.1)     (9.2)     (9.4)     (9.7)   (10.2)
Other investing activities                                           (0.1)     (0.4)       (0.1)     (0.0)      0.0       0.0       0.0       0.0      0.0
  Net cash (used in)/provided by investing activities                (6.3)     (5.2)       (7.6)    (10.8)    (12.3)    (12.8)    (13.4)    (14.1)   (14.9)
Free cash flow                                                      (24.8)    (25.0)      (23.3)    (26.5)    (25.9)    (20.9)    (10.6)      2.2     12.1
Cash flows from financing activities
Proceeds from/(payments for) debt                                    0.0        0.0         0.0      0.0        0.0       0.0       0.0       0.0      0.0
Proceeds from/(payments for) equity                                 32.3       26.6         5.1    101.5        0.0       0.0       0.0       0.0      0.0
  Net cash (used in)/provided by financing activities               32.3       26.6         5.1    101.5        0.0       0.0       0.0       0.0      0.0
 Net change in cash and cash equivalents                              7.4       1.2       (18.2)    75.0      (25.9)    (20.9)    (10.6)      2.2     12.1
Cash and Cash Equivalents, Beginning of Period                      16.6       24.0       25.2       7.0      82.0      56.1      35.2      24.6      26.8
Cash and Cash Equivalents, End of Period                           $24.0      $25.2       $7.0     $82.0     $56.1     $35.2     $24.6     $26.8     $39.0
Source: BMO Capital Markets estimates and corporate reports.



                                          Valuation
                                          Our $22 12-month target price is based on an average of two methodologies: forward-looking
                                          enterprise value (EV)/revenues and discounted cash flow. While the company has no true publicly
                                          held peers, we have provided the metrics for a comparable group of companies that operate in a
                                          SAAS model with a specific industry vertical (see Exhibit 40).




Page 36  December 1, 2014
                                                                             AR-C-1695
                              Case 2:21-cv-00177-SRB Document 59-23 Filed 05/16/22 Page 37 of 44

BMO Capital Markets                                                                                                                                                          2U

Exhibit 40. Operational and Financial Metrics: TWOU vs. Peer Group
                                                                       Channel    Fleetmatcis      Marin    Medidata                               Veeva
                              athenahealth Benefitfocus       Cvent    Advisor         Group    Software    Solutions    Real Page    Textura    Systems     GROUP           2U
                                    ATHN          BNFT         CVT      ECOM            FLTX       MRIN        MDSO             RP      TXTR       VEEV      MEDIAN        TWOU
                                                                        Market
Rating                                N.A.          N.A.       N.A.    Perform           N.A.       N.A.         N.A.         N.A.       N.A.        N.A.              Outperform
Target Price                          N.R.          N.R.       N.R.        $19           N.R.       N.R.         N.R.         N.R.       N.R.        N.R.                     $22
Operating Performance
FY End                                  12           12          12          12            12          12          12           12           9          1                      12
LTM Qtr. End                         09/14        09/14       09/14       09/14         09/14       09/14       09/14        09/14      09/14       07/14                 12/14E
Revenue ($MM)                      $711.0       $127.5      $133.6       $81.6        $161.2       $94.2      $320.4       $395.6      $57.1      $260.2                  $109.5
Gross Profit ($MM)                  362.3         44.4        93.5        58.3         120.5        59.4       238.9        213.9       45.1       160.3                    83.0
EBITDA ($MM)                         92.8        (44.8)       12.4       (30.3)         38.6       (25.9)       20.8         31.2      (21.2)       53.8                   (15.8)
EBIT ($MM)                            5.3        (54.7)        3.2       (35.8)         22.2       (34.1)       11.0          (8.2)    (30.2)       50.3                   (29.2)
Pretax Income ($MM)                   0.2        (57.8)        3.2       (36.4)         21.2       (34.4)        (4.2)        (9.9)    (28.4)       50.3                   (30.2)
Net Income ($MM)                      1.3        (57.8)        3.3       (36.6)         23.2       (32.4)         1.2         (8.2)    (27.4)       29.2                   (30.2)
Free Cash Flow ($MM)                 73.3        (24.1)        2.9       (28.2)          6.5       (26.8)       34.8         27.8        (7.3)      30.2                   (26.5)
Gross Margins (in %)                51.0%        34.8%       70.0%       71.4%         74.8%       63.0%       74.6%        54.1%      79.0%       61.6%      66.5%        75.8%
EBITDA (in %)                       13.1%       -35.2%        9.3%      -37.2%         24.0%      -27.5%        6.5%         7.9%     -37.2%       20.7%       7.2%       -14.4%
EBIT (in %)                          0.7%       -42.9%        2.4%      -43.9%         13.8%      -36.3%        3.4%        -2.1%     -52.9%       19.3%      -0.7%       -26.6%
Pretax Income (in %)                 0.0%       -45.3%        2.4%      -44.6%         13.1%      -36.5%       -1.3%        -2.5%     -49.7%       19.3%      -1.9%       -27.6%
Net Income (in %)                    0.2%       -45.3%        2.4%      -44.9%         14.4%      -34.4%        0.4%        -2.1%     -47.9%       11.2%      -0.9%       -27.6%
Free Cash Flow Yield (in %)         10.3%       -18.9%        2.1%      -34.6%          4.1%      -28.4%       10.9%         7.0%     -12.8%       11.6%       3.1%       -24.2%
ROIC: LTM                            0.2%       -65.7%        1.9%      -36.0%         12.4%      -27.1%        0.3%        -2.4%     -19.8%       14.3%      -1.1%       -58.7%

Valuation Metrics
FY End                                  12           12           12        12             12         12           12            12         9            1                     12
LTM Qtr. End                         09/14        09/14        09/14     09/14          09/14      09/14        09/14         09/14     09/14        07/14                12/14E
Price (11/28/14)                  $117.30       $27.09       $26.92    $17.60         $35.19      $8.62       $42.71        $20.56    $23.96       $32.85                 $18.08
Shares Outstanding (MM)              38.1         25.6         41.3      24.9           37.7       35.0         54.3          78.7      25.5         52.0                   40.5
Market Cap ($MM)                 $4,468.5       $692.3     $1,112.5    $438.1       $1,328.3     $301.5     $2,317.1      $1,618.7    $610.2     $1,707.6                 $733.0
Net Debt/(Cash) ($MM)               107.6        (18.9)      (183.1)    (80.1)        (108.7)     (71.8)       (20.1)        (73.1)    (65.3)      (350.2)                 (82.0)
Enterprise Value ($MM)           $4,576.1       $673.4       $929.4    $358.0       $1,219.6     $229.6     $2,297.0      $1,545.5    $545.0     $1,357.4                 $651.0
CY Revenue ($ millions):
 2013A                             $595.0       $128.6      $111.1      $68.0         $177.4      $77.3       $276.8       $377.0        N.A.     $210.2                   $83.1
 2014E                              750.3        133.7       139.7       85.7          230.1       96.1        340.2        402.7      $63.0       297.0                   109.5
 2015E                              925.6        171.4       176.8      111.5          288.0      117.2        410.3        444.1       89.3       392.5                   140.5
 Two-Year CAGR                      24.7%        15.5%       26.1%      28.1%          27.4%      23.1%        21.7%         8.5%        N.A.      36.7%      24.7%        30.0%
EV/sales
 2013A                                7.7x          5.2x       8.4x       5.3x           6.9x       3.0x         8.3x         4.1x       N.A.        6.5x       6.5x         7.8x
 2014E                                6.1           5.0        6.7        4.2            5.3        2.4          6.8          3.8        8.6x        4.6        5.2          5.9
 2015E                                4.9           3.9        5.3        3.2            4.2        2.0          5.6          3.5        6.1         3.5        4.1          4.6
CY EPS:
 2013A                              $0.02          N/A         N/A         N/A         $0.75      ($1.21)      $0.59         $0.59       N/A         N/A                      N/A
 2014E                               1.04       ($2.57)      $0.00      ($1.05)         0.84       (0.97)       0.77          0.40       N/A         N/A                   ($0.66)
 2015E                               1.27        (2.20)       0.12       (0.82)         1.28       (0.57)       0.92          0.47     $0.20       $0.41                    (0.51)
 Two-Year CAGR                     743.5%          N.A.        N.A.        N.A.        30.8%      -31.8%       24.2%        -11.1%       N.A.        N.A.     24.2%           N.A.
P/E:
 2013A                             6571.4x          N.A.       N.A.       N.A.          47.0x       N.M.        72.0x        34.6x       N.A.        N.A.      59.5x         N.A.
 2014E                              113.0           N.M.       N.A.       N.M.          41.7        N.M.        55.5         51.9        N/A         N/A       53.7          N.M.
 2015E                               92.4           N.M.     224.3x       N.M.          27.5        N.M.        46.7         43.7      118.6x       80.1x      80.1          N.M.
EV/EBITDA (LTM)                      49.3           N.M.      75.1        N.M.          31.6        N.M.       110.2          49.5      N.M.         25.2      49.4          N.M.
EV/EBIT (LTM)                       871.1           N.M.     289.7        N.M.          54.9        N.M.       208.5          N.M.      N.M.         27.0     208.5          N.M.
EV/Free Cash Flow (LTM)              62.5           N.M.     325.4        N.M.         186.7        N.M.        66.0          55.7      N.M.         45.0      64.2          N.M.

N.A. – Not Available. N.M. – Not Meaningful. Source: Thomson Reuters and BMO Capital Markets.




                                                Forward-looking EV/revenues approach. As of November 28, 2014, TWOU was valued at 5.9x
                                                EV/TTM revenues of nearly $110 million (estimated through December 31, 2014) versus 5.2x for
                                                its peer group. We conservatively assume that 12 months hence, TWOU will trade at its same
                                                multiple using TTM revenues through December 31, 2015 (which we project will be roughly $141
                                                million). This methodology yields a 12-month price of about $23. We note that the stock’s
                                                premium narrows when using 2015E revenue (4.6x versus 4.1x), given TWOU’s expected faster
                                                growth rate.

                                                Discounted cash flow approach. Our second valuation methodology applies a 10-year
                                                discounted cash flow (DCF) approach with the following assumptions:
                                                      Free cash flow (cash flow from operations less capital expenditures) will grow at a slower
                                                       annual rate after 2016 before normalizing at 10% thereafter;


Page 37  December 1, 2014
                                                                                       AR-C-1696
                  Case 2:21-cv-00177-SRB Document 59-23 Filed 05/16/22 Page 38 of 44

BMO Capital Markets                                                                                                          2U

                                Discount rate of 20%; and
                                A multiple of 5x for terminal value.

                             Based on these assumptions, we calculate TWOU is currently worth roughly $20 per share and
                             our 12-month future fair-value estimate is about $22 (using one less discounting period).
                             In sum, we believe TWOU will be worth roughly $22 per share over the next 12 months, the
                             average of these methodologies (see Exhibit 41).

                             Exhibit 41. Summary of Valuation Methodologies
                                 Metholodogy:                                                Est. TWOU Stock Price
                                 Forward - looking EV/revenue multiple                               $23
                                 Discounted cash flow                                                $22
                                  Average                                                            $22
                             Source: BMO Capital Markets estimates.




                             Risks
                                Client concentration. Given the small number of programs it provides, any material
                                 underperformance from a single program (limited student enrollments, decline in program
                                 rankings, reputation impairment) could drive a disproportionate effect on overall business.
                                 The negative impact on 2U’s reputation could also impair the company’s growth strategy. We
                                 note that in 3Q14, 56% of the company’s revenues were derived from its two initial programs
                                 with USC and 15% from its program with the Georgetown University School of Nursing.

                                Student acquisition and retention. Growth is dependent on the ability of the company to
                                 acquire qualified students for its clients' programs. Several risk factors to enrollment growth
                                 outside management’s control include: 1) negative perception of online learning; 2)
                                 ineffective program marketing; 3) lack of interest in the degree program; 4) client admission
                                 standards; and 5) inability to secure student funding. To generate ongoing revenue, 2U’s
                                 clients must retain enrolled students over the lifetime of the program. Without ongoing
                                 support to students (including educational, technological, and logistical support), these
                                 students could withdraw from the program. Risks to retention include: 1) reduced support
                                 from clients; 2) lack of support from faculty members; and 3) student dissatisfaction.

                                Limited market. The nature of its contracts and client relationships could reduce the
                                 company’s overall revenue potential. 2U markets its degree programs to a limited number of
                                 selective nonprofit colleges and universities. These agreements generally contain limitations
                                 for the company to contract with other institutions that offer the same degree program. The
                                 need to maintain positive client relations may make it less likely for management to approach
                                 institutions even when it can do so. The long-term nature of client contracts and relationships
                                 also prevents “switching” to more profitable competitive programs.

                                Negative perceptions of online learning. Underperformance of online graduate degree
                                 programs (from 2U’s clients, other competitors, or new entrants) could create the perception



Page 38  December 1, 2014
                                                             AR-C-1697
                  Case 2:21-cv-00177-SRB Document 59-23 Filed 05/16/22 Page 39 of 44

BMO Capital Markets                                                                                                           2U

                                 that online programs are an ineffective way to educate students. Students may be reluctant to
                                 enroll for potential fears such as: 1) substandard learning experience; 2) averse employer
                                 hiring attitudes; and 3) limited recognition from organizations that grant professional
                                 licenses/certifications. In addition, negative perceptions of online for-profit postsecondary
                                 institutions may cause all online learning programs to be viewed unfavorably by the public
                                 and policy makers.

                                High startup costs. Management spends substantial resources on new program sales efforts,
                                 and the sales cycle for a new degree program spans one year or longer. The process of
                                 identifying good fit graduate degrees and negotiating contracts with potential clients is
                                 complex and time consuming. To launch a new program, significant resources are needed
                                 (e.g., system integration, content development, marketing, student services). Management
                                 estimates it takes four to five years after an engagement to recoup its investment costs.
                                 Unexpected events could prevent these investments from being profitable.

                                Competition. Several of 2U’s direct and potential competitors may have significantly greater
                                 resources. They may develop more compelling service offerings to potential clients, establish
                                 cooperative relationships with third parties to expand, or use aggressive pricing. Increased
                                 competition could lead a number of factors that would negatively affect revenue growth:
                                 pricing pressure; longer and more complex sales cycles; and a decrease in market share
                                 among its potential client base.

                                Regulatory issues. 2U’s business model and share of tuition revenue as payment has been
                                 validated by the Department of Education’s (ED) “dear colleague” letter to allow bundled
                                 services (not in violation of the incentive compensation rule). As this is not codified by
                                 statute or regulation, there is risk it could be altered or removed with little notice. The legal
                                 weight of the letter is also uncertain in litigation in court. Any revision or change by
                                 Congress, the ED, or court would require a change in business model. Other potential issues
                                 could arise from violations of the misrepresentation rule and The Family Education Rights
                                 and Privacy Act (FERPA) related to regulation around marketing activities and student
                                 information disclosure, respectively. In addition, the company’s clients are bound by other
                                 regulations within the Higher Education Act, which tend to be onerous.


                             The Bear Case
                             We envision several potentially bearish cases: 1) the company loses one of its major clients or
                             programs; 2) 2U’s competitors gain share at the expense of the company’s growth; or 3) online
                             learning growth slows due to negative perceptions and lack of adoption.




Page 39  December 1, 2014
                                                          AR-C-1698
                 Case 2:21-cv-00177-SRB Document 59-23 Filed 05/16/22 Page 40 of 44

BMO Capital Markets                                                                                                    2U

                             Other companies mentioned in this report (priced as of the close on November 28, 2014):
                             Apollo Education Group (APOL, $31.22, Outperform)
                             athenahealth (ATHN, $117.30, Not Rated)
                             Benefitfocus (BNFT, $27.09, Not Rated)
                             Cvent (CVT, $26.92, Not Rated)
                             ChannelAdvisor (ECOM, $17.60, Market Perform; covered by Edward Williams)
                             Fleetmatcis Group (FLTX, $35.19, Not Rated)
                             John Wiley & Sons (JW’A, $59.72; Not Rated)
                             Marin Software (MRIN, $8.62 Not Rated)
                             Medidata Solutions (MDSO, $42.71 Not Rated)
                             Pearson PLC (PSO, $19.31 Not Rated)
                             Real Page (RP, $20.56, Not Rated)
                             Textura (TXTR, $23.96, Not Rated)
                             Veeva Systems (VEEV, $32.85, Not Rated)




Page 40  December 1, 2014
                                                        AR-C-1699
                     Case 2:21-cv-00177-SRB Document 59-23 Filed 05/16/22 Page 41 of 44

BMO Capital Markets                                                                                                                                                                  2U


                                                                                   2U (TWOU)
                                                                                                                                       Share Price(US$)
                                       Quarterly Price (US$)                                            22                                                                     22
          20                                                                             20
                                                                                                        20                                                                     20

          18                                                                             18             18                                                                     18

                                                                                                        16                                                                     16
          16                                                                             16
                                                                                                        14                                                                     14
          14                                                                             14
                                                                                                        12                                                                     12

          12                                                                             12             10                                                                     10

                                                                                                         8                                                                     8

                             TWOU Relative to S&P 500                                                                  TWOU Relative to S&P 500
                             TWOU Relative to Diversified Consumer Services                                            TWOU Relative to Diversified Consumer Services
                                                                                                       140                                                                     140


                                                                                                       120                                                                     120
         120                                                                             120

                                                                                                       100                                                                     100
         110                                                                             110
                                                                                                        80                                                                     80

         100                                                                             100            60                                                                     60
                      1995            2000            2005            2010                                          2012                  2013                   2014

                                          Revenue / Share - (US$)                                                  TWOU Relative to S&P 500 Y/Y (%)
                                          Price / Revenue                                                          TWOU Relative to Diversified Consumer Services Y/Y (%)
           2                                                                             2               2                                                                     2

           1                                                                             1
                                                                                                         0                                                                     0
           0                                                                             0                          2012                  2013                   2014

                                       EPS (4 Qtr Trailing) - (US$)
                                       Price / Earnings
           2                                                                             0.01



           0                                                                             -0.01
                      1995            2000            2005            2010


             FYE    EPS             P/E        DPS       Yield%       Payout    BV           P/B             ROE            TWOU - Rating as of 24-Nov-14 = NR
           (Dec.)   US$         Hi - Lo        US$      Hi - Lo         %      US$        Hi - Lo             %

         Range*:                 na    na               NC                               >15 >15
         Current*    ND          na            0.00          0.0         na        2.2           8.2          na



           * Current EPS is the 4 Quarter Trailing to Q3/2014.
           * Valuation metrics are based on high and low for the fiscal year.
           * Range indicates the valuation range for the period presented above.




                                                                                                                                             Last Price ( November 28, 2014): $ND
                                                                                                              Sources: IHS Global Insight, Thomson Reuters, BMO Capital Markets.




Page 41  December 1, 2014
                                                                                         AR-C-1700
                     Case 2:21-cv-00177-SRB Document 59-23 Filed 05/16/22 Page 42 of 44

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Methodology: EV/Rev, DCF
Risks: Client concentration, high start-up costs, negative perceptions of online learning

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Page 42  December 1, 2014
                                                                         AR-C-1701
                      Case 2:21-cv-00177-SRB Document 59-23 Filed 05/16/22 Page 43 of 44

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Page 43  December 1, 2014
                                                                           AR-C-1702
                     Case 2:21-cv-00177-SRB Document 59-23 Filed 05/16/22 Page 44 of 44

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Page 44  December 1, 2014
                                                                          AR-C-1703
